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  1 Tracy L. Fehr (SBN 239005)
    tfehr@amfllp.com
  2 John Schwab (SBN 307599)
    jschwab@amfllp.com
  3 ALEXANDER MORRISON + FEHR LLP
    1900 Avenue of the Stars, Ste 900
  4 Los Angeles, CA 90067
  5 Telephone:  (310) 394-0888
    Facsimile: (310) 394-0811
  6
  7 LAW OFFICES OF G. SAMUEL CLEAVER
    G. SAMUEL CLEAVER (State Bar No. 245717)
  8 3660 Wilshire Boulevard, Suite 922
    Los Angeles, CA 90010
  9 Tel: 213.568.4088
    Fax: 213.568.4105
 10 Email: sam@gscleaverlaw.com
 11 Attorneys for Plaintiff
    MICHAEL SHERLOCK
 12
                           UNITED STATES DISTRICT COURT
 13                       CENTRAL DISTRICT OF CALIFORNIA
 14
          MICHAEL SHERLOCK, an                      Case No.: 2:22-cv-00426-SVW-
 15 individual;                              AFM)
 16                                                [Hon. Alexander F. MacKinnon
                   Plaintiff,                Crtrm 780]
 17
 18       v.                                        DISCOVERY MATTER

 19        THE GOODYEAR TIRE &               JOINT STIPULATION REGARDING
    RUBBER COMPANY., a California            DISCOVERY DISPUTE
 20 corporation and DOES 1 through 20,
    inclusive,                                      Hrg. Date: April 26, 2022
 21                                                 Time: 10:00 a.m.
                                                    Ctrm: 780, 7th Floor
 22                   Defendants.                   Discovery Cut-Off: No Date Set
                                                    FPTC: June 6, 2022
 23                                                 Trial: June 14, 2022
 24
 25
 26
 27
 28



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 28


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  1                                   JOINT STATEMENT
  2         Pursuant to Local Rule 37-2, Plaintiff Michael Sherlock (“Plaintiff”) and
  3 Defendant Goodyear Tire & Rubber Company (“Defendant” or “Goodyear”) by and
  4 through their respective counsel of record, submit their Joint Stipulation Regarding
  5 Discovery Dispute. This stipulation is made following the conference of the Parties
  6 pursuant to Local Rule 37-1 on March 25, 2022.
  7 I.      INTRODUCTORY STATEMENTS
  8         A.     Plaintiff’s Introduction
  9         Plaintiff brings multiple claims arising from his termination after more than three
 10 decades of service to Defendant and three days after Plaintiff requested leave to care for
 11 his wife who was suffering from Alzheimer’s and Parkinson’s Disease. Plaintiff was a
 12 district manager who oversaw 22 of Defendant’s Just Tires retail stores in Southern
 13 California. Plaintiff brings claims against Defendant under the California Fair
 14 Employment and Housing Act (“FEHA”), California Government Code § 12900, et
 15 seq., the California Family Rights Act (“CFRA”), California Government Code §
 16 12945, et seq. and for retaliation in violation of California Labor Code § 1102.5.
 17 Plaintiff’s claims include: age and disability discrimination, whistle-blower retaliation,
 18 and interference with his CFRA protected leave rights. (Cleaver Decl. Ex. 7.)
 19       Plaintiff seek the Court’s assistance in compelling Defendants to compel further
 20 responses to two interrogatories and several categories of documents requests. The
 21 interrogatories seek, among other information, the ages Plaintiff’s comparator
 22 employees and the ages of the persons who participated in the decision to terminate
 23 Plaintiff’s employment.
 24        The categories of documents Plaintiff’s seeks include:
 25         1) Documents related to job performance metrics (e.g. tire sales, labor costs, etc.)
 26 that Goodyear tracked and used to rank the performance of Plaintiff’s district against
 27 other Goodyear districts. (RFP Nos. 36-38, 43, 48, 50-51, 53-55.)
 28


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  1         2) Documents related to the administrative retail district that Plaintiff alleges
  2 Defendant established to siphon revenue from its other retail districts and decrease store
  3 and district manager bonuses. Plaintiff alleges that Defendant retaliated against him
  4 after he complained to his supervisors about the district. The documents Plaintiff seeks
  5 include the operating statements for the retail district. (RFP 38-42, 46-47.)
  6         3) Defendant’s policies relating to medical leaves, disability discrimination,
  7 disability accommodations and the interactive process. (RFP’s 56-57, 59.)
  8         4) Communications by 11 person(s) that mention or refer to Plaintiff. (RFP’s 85-
  9 96.) These include the four persons identified by Defendant as participants in the
 10 decision to terminate Plaintiff, supervisors and HR personnel who sent, received, or
 11 were copied on Plaintiff’s requests for leave to care for his wife, and supervisors and
 12 HR personnel to whom Plaintiff complained of Defendant’s discrimination and
 13 retaliation. Plaintiff also seeks the e-mails he sent or received as well as e-mails relating
 14 to his job performance, leave(s) of absence, termination, among others. (RFP’s 66-67,
 15 69, 80-84.)
 16         Equally important, Defendant has refused to follow the directive in Fed. R. Civ.
 17 P. 34(b)(2)(B) and (C), which require Defendant to clearly state whether it will produce
 18 responsive documents and whether it is withholding responsive documents subject to
 19 any objection. The information is critically important in this case where, as explained
 20 below, the Court has set a highly compressed schedule. Plaintiff needs to know now
 21 whether responsive documents have been withheld so that he can determine whether to
 22 compel their production before trial. For these reasons and the others stated below,
 23 Plaintiff’s motion should be granted.
 24                   1.    Procedural History
 25         Plaintiff Michael Sherlock filed his Complaint against Defendant Goodyear Tire
 26 & Rubber Company (“Goodyear” or “Defendant”) in Los Angeles County Superior
 27 Court on December 17, 2021. Defendant removed the case to federal court on January
 28 20, 2022. On February 23, 2022, the Court entered its Civil Trial Preparation Order,


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  1 setting the first day of trial for June 14, 2022, which is 145 days after removal. (Cleaver
  2 Decl. ¶ 3, Ex. 1.) Accordingly, the parties have a short time to engage in discovery and
  3 prepare for trial. On March 21, 2022, the Court entered the Joint Stipulated Protective
  4 Order in this matter. (DE 16.)
  5                   2.    Efforts to Meet and Confer
  6         Plaintiff met and conferred with Defendants concerning their interrogatory and
  7 RFP responses by letter on March 15, 2022. Plaintiff’s counsel attempted to schedule
  8 an early telephonic meet and confer with Defendant’s counsel to discuss Plaintiff’s
  9 March 15 letter, but Defendant’s counsel was unable to meet until March 25, which was
 10
    the LR 37-1 deadline to meet and confer. (Cleaver Decl. ¶ 5, Ex. 4.)
 11
           Counsel for the parties met and conferred telephonically pursuant to LR 37-1 for
 12
    over an hour on March 25, 2022. The parties were able to resolve several of the
 13
    concerns raised in Plaintiff’s March 15 letter. However, for many of the issues raised,
 14
    Defendant’s counsel were only able to agree to discuss the issue with Defendant and
 15
    meet and confer further on a later date. This is not enough. The parties are less than
 16
    three months from trial and Defendant has produced only a handful of e-mails from
 17
 18 Plaintiff’s employment, no policies related to key issues in this matter such as
 19 Defendant’s disability accommodation and protected leave policies, and no documents
 20 related to the performance of Plaintiff’s retail sales district among others. Plaintiff is
 21 willing to continue to meet and confer on the requests covered by this motion. But
 22 given the compressed time frame in this case, and Defendant’s lack of progress on
 23 producing documents, Plaintiff has no choice but to act now to preserve his discovery
 24 rights. If the parties are able to resolve their differences on any issues before the hearing
 25 date, Plaintiff will notify the Court.
 26
 27
 28


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  1         B.    Defendants’ Introduction
  2         Although Defendant provided compliant responses and documents, and even
  3 agreed to further meet and confer on further responses and documents, Plaintiff
  4 prematurely filed this motion to force the Parties to spend more time on motion practice
  5 instead of the actual discovery he seeks. Further, Plaintiff uses this improper motion as
  6 a method to “educate” the Court about his incorrect version of the facts. In fact, as
  7
    documents already produced clearly show, Defendant made the decision to eliminate
  8
    Plaintiff’s position and terminate his employment in January 2020 prior to his request
  9
    for leave to take care of his disabled wife and prior to any alleged complaints.
 10
    Defendant only extended his employment to May 2020 in order to grant him an almost
 11
    four month paid leave of absence. This is a simple case and Plaintiff’s attempt to
 12
    complicate the explanation of the facts to ignore his extensive performance issues and
 13
    try to justify his overbroad discovery requests is unavailing.
 14
 15         Plaintiff spends much of his motion trying to justify overbroad and overly

 16 burdensome discovery requests by relying on his conspiracy theory that was a “phantom
 17 district” implemented to steal money from his district and reduce his pay when there is
 18 no evidence that this occurred – as none exists. (See Declaration of Alan Joiner (“Joiner
 19 Dec.”), ¶ 4.) This was specifically at issue in his Requests Nos. 38, 46 and 47, but also
 20 used as an argument in many other requests, and does not justify any such document
 21 requests.
 22          Plaintiff’s other requests are overbroad and seek documents that are clearly
 23 irrelevant to his case, including:
 24        1) Broad categories of documents related to job performance metrics for all
 25 district managers in the entire country for over six years (including two years when
 26 Plaintiff was no longer employed). (RFPs 36-38, 43, 48, 50-51, 53-55.)
 27        2) Emails, letters and other communications even tangentially mentioning
 28 Plaintiff for over a six year period in the email boxes of 11 individuals (and all emails


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  1 to/from Plaintiff) with anyone on any topic, without any application to the claims and
  2 allegations in this case, despite Defendant’s counsel’s request for search terms to narrow
  3 the requests. (RFPs 80-84, 85-96.)
  4         3) Bonus plans for positions Plaintiff was never in and, even more egregiously,
  5 bonus payouts for all store managers, general managers and district managers
  6 throughout the entire country for over six years (including two years when Plaintiff
  7 was no longer employed). (RFPs 39-42.)
  8      3) An employee handbook that he assumes exists, despite Defendant’s counsel’s
  9
      explanation that there is no other handbook applicable to Plaintiff’s employment. (RFP
 10
      58.) (Joiner Decl. ¶ 3.)
 11
            As for other interrogatories and requests, Plaintiff’s counsel only recently
 12
      clarified what he was seeking during the meet and confer process and never provided
 13
      time for further meet and confer efforts, as Defendant’s counsel requested, instead
 14
      sending this joint stipulation only one business day later. (See Declaration of Sarah E.
 15
      Ross (“Ross Decl.”) ¶¶ 2-13.) Regardless, Defendant has agreed to supplement all
 16
 17 interrogatories at issue and almost all of the requests for production at issue, which they
 18 would have done prior to motion practice if Plaintiff had continued the meet and confer
 19 discussion instead of prematurely ending the meet and confer process and immediately
 20 sending this joint stipulation.
 21
 22 II.     INTERROGATORIES
 23         A.     Interrogatory No. 2 1
 24 INTERROGATORY NO. 2:
 25
 26
 27
 28         1
              Plaintiff’s Interrogatories to Defendant, Set One and Defendant’s responses
      are Ex. 2 to the Cleaver Declaration.

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  1         IDENTIFY each and every person who had any input into or participated in any
  2 way in any decision related to PLAINTIFF’s TERMINATION (including whether to
  3 terminate PLAINTIFF’s employment, including but not limited to those who made the
  4 actual decision and those who, directly or indirectly, supplied information to the
  5 decision-makers.) (“IDENTIFY” or “IDENTIFYING” means: (a) with respect to an
  6 individual, state the person’s name, date of birth, job title at the time in question,
  7
    employer and business address and telephone at the time in question, employer and
  8
    business address and telephone at the time in question and dates of employment (if an
  9
    employee of YOURS), and current or last known employer, business address, and
 10
    home address and telephone; (b) with respect to a company, state the name of the
 11
    company, the place of incorporation of the company, and the address of the
 12
    company’s principal place of business; (c) with respect to a DOCUMENT, state the
 13
    names of the author or creator and the addressee, the subject matter or title, the date of
 14
 15 the DOCUMENT, its present location AND custodian, and, if the DOCUMENT is an
 16 insurance policy or cover note, the policy number or cover note number; (d) with
 17 respect to a meeting, state the date, location, and subject matter of the meeting or
 18 complaint, and IDENTIFY the participants in the meeting; (e) with respect to an
 19 insurance claim, or notice of potential claim, state the identity of the policyholder; (f)
 20 with respect to a complaint, state the date, location, form (e.g. oral or written) and
 21 subject matter of the complaint, and IDENTIFY the participants in the meeting; and
 22 (g) with respect to a lawsuit, state the names of the parties, docket number, court, and
 23 the current status of the litigation.)
 24 RESPONSE TO INTERROGATORY NO. 2:
 25     Defendant incorporates by reference each and every one of the objections set
 26
      forth in the General Objections into this response. Defendant objects to this
 27
      interrogatory on the grounds that the terms “participated” and “in the decision to
 28
      terminate” are overly broad and, therefore, seeks information that is neither relevant to

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  1 this lawsuit nor reasonably calculated to lead to the discovery of admissible evidence.
  2 Defendant also objects to this interrogatory on the grounds and to the extent that it
  3 seeks information protected by third parties’ constitutional, statutory, and/or common
  4 law rights to privacy. Defendant also objects to this interrogatory to the extent that it
  5 seeks information protected by the attorney-client privilege and/or the work-product
  6 doctrine.
  7
          Subject to and without waiving the foregoing objections, Defendant responds as
  8
    follows:
  9
          Chris Campbell; Kim Ladouceur; Chastity Duskey; and Alan Joiner. The
 10
    aforementioned individuals can be contacted through Defendant’s counsel of record.
 11
    Defendant’s investigation is ongoing. Defendant reserves the right to supplement its
 12
    response.
 13
                   1.    Plaintiff’s Position
 14
 15       Defendant’s response identifies four persons who participated in the decision to

 16 terminate Plaintiff but fails to identify their job titles or their ages. The job titles of
 17 the persons who participated in the decision to terminate Plaintiff are key evidence for
 18 all his claims including his damages. For instance, job titles could provide evidence
 19 that managing agents participated in the decision to terminate Plaintiff, which is one
 20 of the elements of Plaintiff’s punitive damages claim.
 21         Additionally, Plaintiff brings an age discrimination claim. The ages of the
 22 persons who participated in the decision to terminate Plaintiff are relevant
 23 circumstantial evidence that Plaintiff was subject to age discrimination, especially as
 24 Plaintiff expects Defendant to defend his age discrimination claim by asserting that
 25 the decision makers for Plaintiff’s termination were over forty years old. Richter v.
 26
      Hook-SupeRx, Inc., 142 F.3d 1024, 1032 (7th Cir. 1998) (age of decision-makers
 27
      relevant to age discrimination claims).
 28


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  1         To the extent that Defendant claims that it has third-party privacy concerns,
  2 Defendant can designate the ages of the persons identified as information subject to
  3 the terms of the Protective Order in this matter. (DE 16.)
  4                  2.     Defendant’s Position
  5         Defendant’s counsel indicated on the meet and confer call with Plaintiff’s counsel
  6 that they would agree to provide the job titles, so there was no basis to include that in
  7
    any motion. (Ross Decl. ¶ 12.) As for the ages of the decision-makers, Plaintiff has
  8
    not cited to any 9th Circuit or California authority on this basis – but Defendant’s counsel
  9
    informed Plaintiff’s counsel that they would look into this issue further. In fact, the one
 10
    case Plaintiff cited to, Richter v. Hook-SupeRx, Inc., 142 F3d 1024, 1032 (7th Cir. 1998)
 11
    did not order production of the ages of decision-makers. It only found that the
 12
    defendant’s arguments that the decisionmakers were also over age 40 was “significant”
 13
    (it made no such finding that the ages of decisionmakers would be in favor of the
 14
 15 plaintiff). Id. That is also the case here and while not required, Defendant will agree
 16 to provide both the job titles (as already agreed) and the birthdates of the decisionmakers
 17 as CONFIDENTIAL under the Protective Order in this matter.
 18
 19         B.     Interrogatory No. 5
 20 INTERROGATORY NO. 5:
 21         IDENTIFY (including date of birth)2 the district managers for YOUR RETAIL
 22 DISTRICTS from January 1, 2016 to the present. (“RETAIL DISTRICT(S)” means
 23 the districts in YOUR Retail Division.)
 24
 25
 26         2
             As stated in Interrogatory No. 2 above: “IDENTIFY” or “IDENTIFYING”
    means: (a) with respect to an individual, state the person’s name, date of birth, job title
 27 at the time in question, employer and business address and telephone at the time in
    question, employer and business address and telephone at the time in question and
 28 dates of employment (if an employee of YOURS), and current or last known
    employer, business address, and home address and telephone

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  1 RESPONSE TO INTERROGATORY NO. 5:
  2         Defendant incorporates by reference each and every one of the objections set
  3 forth in the General Objections into this response. Defendant objects to this request on
  4 the grounds that it is overbroad in time and scope, unduly burdensome and not
  5 proportional to the needs of this case, oppressive, and harassing. Defendant further
  6 objects to this request insofar as it seeks confidential and/or proprietary information.
  7
      Defendant also objects to this interrogatory on the grounds and to the extent that it
  8
      seeks information protected by third parties’ constitutional, statutory, and/or common
  9
      law rights to privacy.
 10
                     1.        Plaintiff’s Position
 11
            This interrogatory seeks the identities of the district managers for Defendant’s
 12
      retail stores districts from January 1, 2016 to the present. The information sought
 13
      includes the district manager names, contact information, dates of birth and
 14
 15 employment status with Defendants. The information is relevant to Plaintiff’s claims
 16 for multiple reasons.
 17         The district managers are comparative employees for Plaintiff. They all held
 18 the same position with the same job responsibilities as Plaintiff. Approximately half
 19 of them had the same direct supervisor, Alan Joiner, as Plaintiff. They all had the
 20 same second-level supervisor, Chris Campbell, as Plaintiff. (Sherlock Decl. ¶ 2). The
 21 performance of the districts was ranked together. (Sherlock Decl. ¶ 3.)
 22         The treatment of Plaintiff’s comparator employees is relevant evidence to his
 23 discrimination and retaliation claims. For example, evidence of a “pattern of firing
 24 and demoting so many older workers and replacing them with younger workers, by
 25 the relevant decision-maker during the same time period, constitutes probative
 26
    circumstantial evidence of age discrimination.” Damon v. Fleming Supermarkets Of
 27
    Fla., Inc., 196 F.3d 1354, 1361 (11th Cir. 1999; see Heyne v. Caruso, 69 F.3d 1475,
 28
    1480 (9th Cir. 1995) (“Evidence of [defendant’s] sexual harassment of other female

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  1 workers may be used, however, to prove his motive or intent in discharging
  2 [plaintiff].”)). Defendant’s stated reason for terminating Plaintiff was in part because
  3 of his “years of serious performance issues.” (Cleaver Decl., Ex. 2, p. 4.) The age of
  4 the other district managers is relevant to whether younger managers with comparative
  5 or worse performance results were treated more favorably than he was. See Jones v.
  6 Johnson, 801 Fed. App’x 338, 349-350 (6th Cir. 2020) (overturning summary
  7
    judgment for Defendant because Plaintiff was not allowed to conduct discovery on
  8
    potential comparator employees); see also Hung Nguyen v. Regents of the Univ. or
  9
    California, 2018 WL 6112615 at **6-7 (ordering defendant to produce files of alleged
 10
    comparator faculty members under review for tenure so plaintiff could discover if they
 11
    were similarly situated to and treated more favorably than plaintiff).
 12
          The other district managers are also potential prescient witnesses both, as noted
 13
    above, to similar unlawful conduct they suffered as well as witnesses to the unlawful
 14
 15 conduct Plaintiff suffered. “The disclosure of the names and addresses of potential
 16 witnesses is a routine and essential part of pre-trial discovery.” People v. Dixon, 148
 17 Cal. App. 4th 414, 442 (2007). “Contacting witnesses is a routine and necessary part
 18 of the discovery process and often leads to valuable evidence.” Tomanovich v.
 19 Autumn Glen, 2002 WL 1858795 at *4 (S.D. Ind. Aug. 13, 2002). Discovery of the
 20 identity of other district managers may lead to the discovery of other instances of
 21 discrimination or retaliation by the same or other decision-makers. Johnson v. United
 22 Cerebral Palsy/Spastic Children’s Foundation, 173 Cal. App. 4th 740, 767 (“me too”
 23 evidence of discrimination suffered by other employees of defendant relevant “as a
 24 matter of law”).
 25       The interrogatory is not overbroad as to time. Defendant terminated Plaintiff’s
 26
    employment in May 2020. The interrogatory seeks information on comparator
 27
    employees four years and four months before Plaintiff’s termination and less than two
 28


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  1 years after Plaintiff’s termination. Neither of these time periods is overbroad. See e.g.
  2 Chamberlin v. Farmington Sav. Bank, 247 F.R.D. 288, 291 (D. Conn. 2007).
  3     The discovery is not overburdensome. Plaintiff calculates that there were
  4 approximately 35 other district managers in Defendant’s retail division. (Sherlock
  5 Decl. ¶ 2.) Even taking into account some turnover, Plaintiff is seeking information
  6 concerning less than 100 employees. Plaintiff is seeking only 4 data points
  7
    concerning each manager: 1) name; 2) contact information; 3) date of birth; and 4)
  8
    employment status with Defendant. All this information is typically stored
  9
    electronically and Defendant should be easily able to provide it. The request is not
 10
    overburdensome and Defendant has failed to make the required showing that it is.
 11
    Nagele v. Electronic Data Systems Corp., 193 F.R.D. 94, 109 (W.D.N.Y. 2005)
 12
    (overruling burdensome objection because objecting party had failed to “particularize”
 13
    the basis for the objection.)
 14
 15        To the extent that Defendant claims that it has third-party privacy concerns,

 16 Defendant can designate the information in the response as subject to the terms of the
 17 Protective Order in this matter. (DE 16.)
 18                  2.    Defendant’s Position
 19         Defendant’s counsel indicated on the meet and confer call with Plaintiff’s counsel
 20 that they would look into this issue further and respond, so there was no reason for
 21 Plaintiff to prematurely file this motion and waste the Court’s time. (Ross Decl. ¶ 12.)
 22 This interrogatory seeks the names, contact information, birthdates and contact
 23 information for all district managers throughout the entire country. In any event,
 24 Plaintiff has cited no authority requiring production of confidential and personal
 25 information of alleged comparators, such as their birthdates and contact information, let
 26
    alone any 9th Circuit or California authority. Damon v. Fleming Supermarkets of Fla.,
 27
    Inc., 196 F. 3d 1354, 1361 (11th Cir. 1999) and Heyne v. Caruso, 69 F. 3d 1475, 1480
 28
    (9th Cir. 1995) do not have anything to do with discovery of such information. While

                                                11
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  1 Jones v. Johnson, 801 Fed. App’x 338, 349-350 (6th Cir. 2020) discussed discovery, it
  2 dealt with a deposition that the plaintiff was denied and not with the request for personal
  3 and confidential information like at issue here. Similarly, Hung Nguyen v. Regents of
  4 the Univ. or California, 2018 WL 6112615 at **6-7 (C.D. Cal. 2018) also did not deal
  5 with the production of such information.
  6         Likewise, Plaintiff’s argument that these other district managers are “witnesses”
  7
      entitling him to their names and contact information is unavailing. He has pointed to
  8
      no authority indicating that co-workers are automatically witnesses because they were
  9
      in the same position as the plaintiff.
 10
            Although all of Plaintiff’s arguments are unavailing, in order to avoid wasting
 11
      the Court’s time, Defendant will agree to provide the names, birthdates and employment
 12
      statuses for the other district managers employed in the same South Region as Plaintiff
 13
      from January 1, 2016 through December 31, 2019, as CONFIDENTIAL subject to the
 14
 15 Protective Order in this action. As Plaintiff’s employment was set for termination in
 16 January 2020 and was only extended to May 2020 to allow him to take the leave of
 17 absence he requested after notification of his termination, 2020 performance metrics are
 18 not relevant for analyzing the basis of his termination. (Joiner Decl. ¶¶ 5, 6.) Further,
 19 as the South Region already covers half the country and is the relevant region for
 20 looking at any potential comparators, only production of information regarding South
 21 Region district managers is even remotely warranted here. (Joiner Decl. ¶ 2.)
 22 III.    REQUESTS FOR PRODUCTION
 23         A.     Definitions 3
 24         “AOP” means Annual Operating Plan.
 25
 26
 27
 28         3
              Plaintiff’s RFP’s to Defendant, Set One and Defendant’s responses are Ex. 3
      to the Cleaver Declaration.

                                                 12
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  1         “COMMUNICATION(S)” means any conference or exchange of information
  2 between persons, including, but not limited to, letter, email, memorandum, text
  3 message, messaging app, direct messaging app, telegram or through any other
  4 DOCUMENT.
  5         “COMPLAINT,” as used in this request, means the Complaint on file in this
  6 action. If the Complaint has been amended, then “COMPLAINT” collectively refers
  7
    to all versions of the Complaint (including amended versions). For example, if an
  8
    inspection demand calls for “all emails about the COMPLAINT,” and the Complaint
  9
    in this action has been superseded by a First Amended Complaint, then
 10
    “COMPLAINT” includes both the Complaint and the First Amended Complaint, and
 11
    the inspection demand thus calls for all emails about the Complaint and all emails
 12
    about the First Amended Complaint.
 13
           The terms “DEFENDANT” “YOU” or “YOUR” refer to Defendant Goodyear
 14
 15 Tire & Rubber Company and its representatives, agents, officers, directors, attorneys,
 16 subsidiaries, dba’s and any other person or entity under its control or acting on its
 17 behalf.
 18         The term “DOCUMENT” has the same meaning as in Federal Rules of Civil
 19 Procedure 34(a), and includes electronic data, reports stored in SAP and/or other
 20 electronic systems, revisions, drafts, works in progress, preliminary work, and copies
 21 of the original. If a DOCUMENT is an electronic mail, text message, etc., the
 22 electronic mail should be produced in its original format so that any and all
 23 attachments to the electronic mail are produced and the entire chain of electronic mail
 24 communication is produced. If a DOCUMENT is an Excel Spreadsheet, it should be
 25 produced in its native electronic format.
 26
            “EMPLOY,” “EMPLOYED,” or “EMPLOYMENT” mean the time period that
 27
      YOU employed PLAINTIFF or that YOU contend PLAINTIFF was an independent
 28
      contractor providing services to YOU.

                                                13
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  1         “PAY RECORDS” means all DOCUMENTS that evidence the information that
  2 would be communicated to employees with each of their wage payments, including
  3 but not limited to all records that must be maintained according to California Labor
  4 Code § 226.
  5      The term “PERSONNEL FILE” includes any and all records maintained either
  6 in the normal course of business or for any special purpose with respect to the
  7
    application, course of employment, and termination of an employee, and specifically
  8
    includes applications, disciplinary notices, performance evaluations, employment
  9
    histories or summaries, records of residential address and telephone numbers,
 10
    termination notices, job assignments or classification records, compensation
 11
    documents, and other similar records. The term “PERSONNEL FILE” includes, but
 12
    is not limited to, all writings within the meaning of Labor Code section 1198.5.
 13
           The term “PLAINTIFF” refers to the Plaintiff in this matter.
 14
 15        “RELATING,” as used in this request, means evidencing, memorializing,

 16 referring, constituting, containing, discussing, describing, embodying, reflecting,
 17 identifying, mentioning, stating, or otherwise relating to in any way, in whole or in
 18 part, the subject matter referred to in this request.
 19         “RETAIL DISTRICT(S)” means the districts in YOUR Retail Division.
 20         “RETAIL STORE(S)” means the Goodyear Stores and Just Tire Stores in
 21 YOUR Retail Division.
 22         “TERMINATE,” “TERMINATED,” OR “TERMINATION” means an
 23 employee’s separation from employment with YOU, regardless of reason or whether
 24 voluntary or involuntary, including whether the employee is fired, terminated, or
 25 discharged; laid off; voluntarily quits or resigns; mutually agrees to leave or end
 26
    employment; or any other end of the employment relationship.
 27
          B.     Request No. 58: Employee Handbook
 28
    REQUEST FOR PRODUCTION NO. 58:

                                                 14
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  1         All employee handbooks that YOU issued to YOUR Retail Division employees
  2 from January 1, 2011 to the present.
  3 RESPONSE TO REQUEST FOR PRODUCTION NO. 58:
  4                 Defendant incorporates by reference each and every one of the objections
  5 set forth in the General Objections into this response. Defendant objects to this request
  6 on the grounds that it is overbroad in time and scope, burdensome, oppressive, and
  7
      harassing. Defendant also objects to this request to the extent that such documents are
  8
      neither relevant nor reasonably calculated to lead to the discovery of admissible
  9
      evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 10
      proprietary documents.
 11
            Subject to and without waiving the foregoing, Defendant responds as follows:
 12
            Defendant will produce the applicable Goodyear Business Conduct Manuals.
 13
            Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 14
 15 its response.
 16                   1.    Plaintiff’s Position
 17         Instead of producing the requested employee handbooks, Defendant has only
 18 produced Business Conduct Manuals. The Business Conduct Manuals do not contain
 19 Defendant’s policies on protected medical leaves or disability accommodations, which
 20 are both at issue in this case and are typically included in Employee Handbooks. The
 21 Business Conduct Manuals also do not include any disciplinary policies, which are also
 22 at issue in this case due to Plaintiff’s poor performance that Defendant alleges was the
 23 basis for his termination. Plaintiff is willing to limit the timeframe of his request for
 24 documents to January 1, 2016 to the present. The handbooks must be produced.
 25 Shepard v. United Parcel Service, Inc., 2010 WL 11562047 at *3 (N.D. Ala. March 31,
 26
      2010) (compelling production of 7 years of Defendant’s employee handbooks).
 27
                      2.    Defendant’s Position
 28


                                                   15
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  1         As Defendant’s counsel explained on the meet and confer conference with
  2 Plaintiff’s counsel, there was no other “handbook” applicable to Plaintiff’s employment
  3 other than Goodyear Business Conduct Manual that was already produced. (Ross Decl.
  4 ¶ 4.) The only other “handbook” Plaintiff referenced on the meet and confer call was a
  5 handbook that was not applicable to district managers like Plaintiff so it is not relevant
  6 here. (Joiner Decl. ¶ 3.) In any event, Defendant will supplement by producing other
  7
    separate policies that fall outside of the Business Conduct Manual and were applicable
  8
    to Plaintiff.
  9
           C.     Request Nos. 85-96: Communications that Mention or Refer to
 10
                  Plaintiff
 11
    REQUEST FOR PRODUCTION NO. 85:
 12
           Any and all COMMUNICATIONS (e-mails, texts, direct messages, etc.) sent or
 13
    received by Chastity Duskey that mention or refer or related to PLAINTIFF or any
 14
 15 aspect of PLAINTIFF’s EMPLOYMENT from January 1, 2011 through the present.
 16 RESPONSE TO REQUEST FOR PRODUCTION NO. 85:
 17     Defendant incorporates by reference each and every one of the objections set
 18 forth in the General Objections into this response. Defendant objects to this request on
 19 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 20 harassing. Defendant also objects to this request to the extent that such documents are
 21 neither relevant nor reasonably calculated to lead to the discovery of admissible
 22 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 23 proprietary documents. Defendant also objects to this request to the extent it seeks
 24 documents that are privileged and confidential pursuant to the attorney-client privilege
 25 and/or the attorney work-product doctrine, and/or concerns information obtained in
 26
      anticipation of litigation. Defendant objects to this request to the extent it seeks
 27
      documents regarding employees of Defendant and other third parties on the grounds
 28


                                                 16
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  1 that such documents are irrelevant and privileged and confidential under the
  2 constitutional rights of privacy.
  3 REQUEST FOR PRODUCTION NO. 86:
  4         Any and all COMMUNICATIONS (e-mails, texts, direct messages, etc.) sent or
  5 received by Gary VanderLind that mention or refer or related to PLAINTIFF or any
  6 aspect of PLAINTIFF’s EMPLOYMENT from January 1, 2011 through the present.
  7
      RESPONSE TO REQUEST FOR PRODUCTION NO. 86:
  8
            Defendant incorporates by reference each and every one of the objections set
  9
      forth in the General Objections into this response. Defendant objects to this request on
 10
      the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 11
      harassing. Defendant also objects to this request to the extent that such documents are
 12
      neither relevant nor reasonably calculated to lead to the discovery of admissible
 13
      evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 14
 15 proprietary documents. Defendant also objects to this request to the extent it seeks
 16 documents that are privileged and confidential pursuant to the attorney-client privilege
 17 and/or the attorney work-product doctrine, and/or concerns information obtained in
 18 anticipation of litigation. Defendant objects to this request to the extent it seeks
 19 documents regarding employees of Defendant and other third parties on the grounds
 20 that such documents are irrelevant and privileged and confidential under the
 21 constitutional rights of privacy.
 22 REQUEST FOR PRODUCTION NO. 87:
 23     Any and all COMMUNICATIONS (e-mails, texts, direct messages, etc.) sent or
 24 received by Kelly Loucks that mention or refer or related to PLAINTIFF or any aspect
 25 of PLAINTIFF’s EMPLOYMENT from January 1, 2011 through the present.
 26
      RESPONSE TO REQUEST FOR PRODUCTION NO. 87:
 27
            Defendant incorporates by reference each and every one of the objections set
 28
      forth in the General Objections into this response. Defendant objects to this request on

                                                  17
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  1 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
  2 harassing. Defendant also objects to this request to the extent that such documents are
  3 neither relevant nor reasonably calculated to lead to the discovery of admissible
  4 evidence. Defendant further objects to this request insofar as it seeks confidential
  5 and/or proprietary documents. Defendant also objects to this request to the extent it
  6 seeks documents that are privileged and confidential pursuant to the attorney-client
  7
    privilege and/or the attorney work-product doctrine, and/or concerns information
  8
    obtained in anticipation of litigation. Defendant objects to this request to the extent it
  9
    seeks documents regarding employees of Defendant and other third parties on the
 10
    grounds that such documents are irrelevant and privileged and confidential under the
 11
    constitutional rights of privacy.
 12
    REQUEST FOR PRODUCTION NO. 88:
 13
           Any and all COMMUNICATIONS (e-mails, texts, direct messages, etc.) sent or
 14
 15 received by Breann Newell that mention or refer or related to PLAINTIFF or any aspect
 16 of PLAINTIFF’s EMPLOYMENT from January 1, 2011 through the present.
 17 RESPONSE TO REQUEST FOR PRODUCTION NO. 88:
 18         Defendant incorporates by reference each and every one of the objections set
 19 forth in the General Objections into this response. Defendant objects to this request on
 20 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 21 harassing. Defendant also objects to this request to the extent that such documents are
 22 neither relevant nor reasonably calculated to lead to the discovery of admissible
 23 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 24 proprietary documents. Defendant also objects to this request to the extent it seeks
 25 documents that are privileged and confidential pursuant to the attorney-client privilege
 26
      and/or the attorney work-product doctrine, and/or concerns information obtained in
 27
      anticipation of litigation. Defendant objects to this request to the extent it seeks
 28
      documents regarding employees of Defendant and other third parties on the grounds

                                                 18
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  1 that such documents are irrelevant and privileged and confidential under the
  2 constitutional rights of privacy.
  3 REQUEST FOR PRODUCTION NO. 89:
  4         Any and all COMMUNICATIONS (e-mails, texts, direct messages, etc.) sent or
  5 received by Kim Ladouceur that mention or refer or related to PLAINTIFF or any aspect
  6 of PLAINTIFF’s EMPLOYMENT from January 1, 2011 through the present.
  7
      RESPONSE TO REQUEST FOR PRODUCTION NO. 89:
  8
            Defendant incorporates by reference each and every one of the objections set
  9
      forth in the General Objections into this response. Defendant objects to this request on
 10
      the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 11
      harassing. Defendant also objects to this request to the extent that such documents are
 12
      neither relevant nor reasonably calculated to lead to the discovery of admissible
 13
      evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 14
 15 proprietary documents. Defendant also objects to this request to the extent it seeks
 16 documents that are privileged and confidential pursuant to the attorney-client privilege
 17 and/or the attorney work-product doctrine, and/or concerns information obtained in
 18 anticipation of litigation. Defendant objects to this request to the extent it seeks
 19 documents regarding employees of Defendant and other third parties on the grounds
 20 that such documents are irrelevant and privileged and confidential under the
 21 constitutional rights of privacy.
 22 REQUEST FOR PRODUCTION NO. 90:
 23     Any and all COMMUNICATIONS (e-mails, texts, direct messages, etc.) sent or
 24 received by Alan Joiner that mention or refer or related to PLAINTIFF or any aspect of
 25 PLAINTIFF’s EMPLOYMENT from January 1, 2016 through the present.
 26
      RESPONSE TO REQUEST FOR PRODUCTION NO. 90:
 27
      Defendant incorporates by reference each and every one of the objections set forth in
 28
      the General Objections into this response. Defendant objects to this request on

                                                  19
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  1 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
  2 harassing. Defendant also objects to this request to the extent that such documents are
  3 neither relevant nor reasonably calculated to lead to the discovery of admissible
  4 evidence. Defendant further objects to this request insofar as it seeks confidential
  5 and/or proprietary documents. Defendant also objects to this request to the extent it
  6 seeks documents that are privileged and confidential pursuant to the attorney-client
  7
    privilege and/or the attorney work-product doctrine, and/or concerns information
  8
    obtained in anticipation of litigation. Defendant objects to this request to the extent it
  9
    seeks documents regarding employees of Defendant and other third parties on the
 10
    grounds that such documents are irrelevant and privileged and confidential under the
 11
    constitutional rights of privacy.
 12
    REQUEST FOR PRODUCTION NO. 91:
 13
           Any and all COMMUNICATIONS (e-mails, texts, direct messages, etc.) sent or
 14
 15 received by Fred Thomas that mention or refer or related to PLAINTIFF or any aspect
 16 of PLAINTIFF’s EMPLOYMENT from January 1, 2016 through the present.
 17 RESPONSE TO REQUEST FOR PRODUCTION NO. 91:
 18                Defendant incorporates by reference each and every one of the objections
 19 set forth in the General Objections into this response. Defendant objects to this request
 20 on the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 21 harassing. Defendant also objects to this request to the extent that such documents are
 22 neither relevant nor reasonably calculated to lead to the discovery of admissible
 23 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 24 proprietary documents. Defendant also objects to this request to the extent it seeks
 25 documents that are privileged and confidential pursuant to the attorney-client privilege
 26
      and/or the attorney work-product doctrine, and/or concerns information obtained in
 27
      anticipation of litigation. Defendant objects to this request to the extent it seeks
 28
      documents regarding employees of Defendant and other third parties on the grounds

                                                 20
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  1 that such documents are irrelevant and privileged and confidential under the
  2 constitutional rights of privacy.
  3 REQUEST FOR PRODUCTION NO. 92:
  4         Any and all COMMUNICATIONS (e-mails, texts, direct messages, etc.) sent or
  5 received by Karen Vickerman that mention or refer or related to PLAINTIFF or any
  6 aspect of PLAINTIFF’s EMPLOYMENT from January 1, 2016 through the present.
  7
      RESPONSE TO REQUEST FOR PRODUCTION NO. 92:
  8
            Defendant incorporates by reference each and every one of the objections set
  9
      forth in the General Objections into this response. Defendant objects to this request on
 10
      the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 11
      harassing. Defendant also objects to this request to the extent that such documents are
 12
      neither relevant nor reasonably calculated to lead to the discovery of admissible
 13
      evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 14
 15 proprietary documents. Defendant also objects to this request to the extent it seeks
 16 documents that are privileged and confidential pursuant to the attorney-client privilege
 17 and/or the attorney work-product doctrine, and/or concerns information obtained in
 18 anticipation of litigation. Defendant objects to this request to the extent it seeks
 19 documents regarding employees of Defendant and other third parties on the grounds
 20 that such documents are irrelevant and privileged and confidential under the
 21 constitutional rights of privacy.
 22 REQUEST FOR PRODUCTION NO. 93:
 23     Any and all COMMUNICATIONS (e-mails, texts, direct messages, etc.) sent or
 24 received by Steve McCellum that mention or refer or related to PLAINTIFF or any
 25 aspect of PLAINTIFF’s EMPLOYMENT from January 1, 2016 through the present.
 26
      RESPONSE TO REQUEST FOR PRODUCTION NO. 93:
 27
            Defendant incorporates by reference each and every one of the objections set
 28
      forth in the General Objections into this response. Defendant objects to this request on

                                                  21
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  1 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
  2 harassing. Defendant also objects to this request to the extent that such documents are
  3 neither relevant nor reasonably calculated to lead to the discovery of admissible
  4 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
  5 proprietary documents. Defendant also objects to this request to the extent it seeks
  6 documents that are privileged and confidential pursuant to the attorney-client privilege
  7
    and/or the attorney work-product doctrine, and/or concerns information obtained in
  8
    anticipation of litigation. Defendant objects to this request to the extent it seeks
  9
    documents regarding employees of Defendant and other third parties on the grounds
 10
    that such documents are irrelevant and privileged and confidential under the
 11
    constitutional rights of privacy.
 12
    REQUEST FOR PRODUCTION NO. 94:
 13
           Any and all COMMUNICATIONS (e-mails, texts, direct messages, etc.) sent or
 14
 15 received by Chris Campbell that mention or refer or related to PLAINTIFF or any aspect
 16 of PLAINTIFF’s EMPLOYMENT from January 1, 2016 through the present.
 17 RESPONSE TO REQUEST FOR PRODUCTION NO. 94:
 18         Defendant incorporates by reference each and every one of the objections set
 19 forth in the General Objections into this response. Defendant objects to this request on
 20 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 21 harassing. Defendant also objects to this request to the extent that such documents are
 22 neither relevant nor reasonably calculated to lead to the discovery of admissible
 23 evidence. Defendant further objects to this request insofar as it seeks confidential
 24 and/or proprietary documents. Defendant also objects to this request to the extent it
 25 seeks documents that are privileged and confidential pursuant to the attorney-client
 26
      privilege and/or the attorney work-product doctrine, and/or concerns information
 27
      obtained in anticipation of litigation. Defendant objects to this request to the extent it
 28
      seeks documents regarding employees of Defendant and other third parties on the

                                                  22
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  1 grounds that such documents are irrelevant and privileged and confidential under the
  2 constitutional rights of privacy.
  3 REQUEST FOR PRODUCTION NO. 95:
  4         Any and all COMMUNICATIONS (e-mails, texts, direct messages, etc.) sent or
  5 received by Don Roseborough that mention or refer or related to PLAINTIFF or any
  6 aspect of PLAINTIFF’s EMPLOYMENT from January 1, 2016 through the present.
  7
      RESPONSE TO REQUEST FOR PRODUCTION NO. 95:
  8
            Defendant incorporates by reference each and every one of the objections set
  9
      forth in the General Objections into this response. Defendant objects to this request on
 10
      the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 11
      harassing. Defendant also objects to this request to the extent that such documents are
 12
      neither relevant nor reasonably calculated to lead to the discovery of admissible
 13
      evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 14
 15 proprietary documents. Defendant also objects to this request to the extent it seeks
 16 documents that are privileged and confidential pursuant to the attorney-client privilege
 17 and/or the attorney work-product doctrine, and/or concerns information obtained in
 18 anticipation of litigation. Defendant objects to this request to the extent it seeks
 19 documents regarding employees of Defendant and other third parties on the grounds
 20 that such documents are irrelevant and privileged and confidential under the
 21 constitutional rights of privacy.
 22 REQUEST FOR PRODUCTION NO. 96:
 23     Any and all COMMUNICATIONS (e-mails, texts, direct messages, etc.) sent or
 24 received by Richard Kramer that mention or refer or related to PLAINTIFF or any
 25 aspect of PLAINTIFF’s EMPLOYMENT from January 1, 2016 through the present.
 26
      RESPONSE TO REQUEST FOR PRODUCTION NO. 96:
 27
            Defendant incorporates by reference each and every one of the objections set
 28
      forth in the General Objections into this response. Defendant objects to this request on

                                                  23
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  1 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
  2 harassing. Defendant also objects to this request to the extent that such documents are
  3 neither relevant nor reasonably calculated to lead to the discovery of admissible
  4 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
  5 proprietary documents. Defendant also objects to this request to the extent it seeks
  6 documents that are privileged and confidential pursuant to the attorney-client privilege
  7
    and/or the attorney work-product doctrine, and/or concerns information obtained in
  8
    anticipation of litigation. Defendant objects to this request to the extent it seeks
  9
    documents regarding employees of Defendant and other third parties on the grounds
 10
    that such documents are irrelevant and privileged and confidential under the
 11
    constitutional rights of privacy.
 12
                    1.     Plaintiff’s Position
 13
           These requests seek communications concerning Plaintiff sent by 11 Goodyear
 14
 15 employees from 2011 to present. At the parties’ March 25, 2022 telephonic meet and
 16 confer, Plaintiff stated he is willing to limit these requests to e-mail communications
 17 sent from January 1, 2016 to the present. On March 25, Defendant’s counsel could only
 18 commit to discussing production of documents with Defendant and meet and conferring
 19 again at some time later.
 20         The document sought are relevant to Plaintiff’s claims. Four of the 11 persons
 21 Plaintiff seeks communications from are Alan Joiner, Plaintiff’s direct supervisor, Chris
 22 Campbell, Plaintiff’s second level supervisor, and HR managers Kim Ladouceur and
 23 Chastity Duskey. Defendant identifies all four of these persons in its interrogatory
 24 responses as persons who participated in the decision to terminate Plaintiff. Their e-
 25 mail correspondence concerning Plaintiff is highly relevant to his claims. Joiner and
 26
      Duskey were also copied on Plaintiff’s correspondence concerning his protected leave
 27
      request. Defendant has already produced a handful for a self-serving e-mails between
 28
      Joiner and Ladouceur regarding Plaintiff’s alleged performance issues. Goodyear

                                                 24
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  1 should not be allowed to cherry pick the e-mails it finds favorable and to deny Plaintiff
  2 access to any others.
  3       Plaintiff also seeks Leave Analyst Breann Newell’s communications. Plaintiff
  4 corresponded with Newell about his protected leave requests as well. Again, Goodyear
  5 has produced several e-mails from Newell the company apparently believes support its
  6 defenses while denying Plaintiff access to any others.
  7
            Don Rosenborough is the manager who Goodyear identified as taking over the
  8
      management of the stores in Plaintiff’s district after Goodyear removed him. Mr.
  9
      Rosenborough’s communications concerning Plaintiff are thus relevant to Plaintiff’s
 10
      claims and may lead to admissible evidence concerning the performance of Plaintiff’s
 11
      district and Goodyear’s stated reasons for his termination. (Cleaver Decl., Ex. 2, p. 4.)
 12
            Gary VanderLind is Goodyear’s Chief Human Resources Officer, Kelly Loucks
 13
      is the Goodyear HR business partner who supported Plaintiff’s district, and Karen
 14
 15 Vickerman is a Goodyear HR vice-president. Plaintiff complained that he was suffering
 16 discrimination to VanderLind and Vickerman. Loucks as the HR business partner for
 17 Plaintiff’s district would have supported the processing Plaintiff’s and his requests for
 18 protected leave.
 19         Fred Thomas is head of Goodyear’s retail division and was Plaintiff’s third level
 20 supervisor. In addition, to being in Plaintiff direct chain of command, Plaintiff also
 21 complained to Thomas about the unlawful conduct he was suffering.                Thomas’
 22 communications concerning Plaintiff are relevant and may lead to the discovery of
 23 admissible evidence for these reasons.
 24         Steve McCellum is President of Goodyear, Americas. Richard Kramer is the
 25 CEO of Goodyear. Plaintiff complained of discrimination and retaliation to McCellum
 26
    and Kramer. Their communications concerning Plaintiff are relevant and may lead to
 27
    the discovery of admissible evidence for this reason.
 28


                                                 25
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  1         Defendant identifies “correspondence with the employees regarding the
  2 restructuring of the Southern California districts,” as documents reviewed and
  3 considered when determining whether to terminate Plaintiff’s employment.
  4 Presumably, that correspondence would have been by and between Defendant’s retail
  5 division senior management and/or HR personnel from which Plaintiff seeks
  6 communications that reference him. Defendant also claims Plaintiff’s position was
  7
    eliminated because Defendant determined to consolidate Plaintiff’s district with its
  8
    other Southern California district. Defendant has produced no documentation to
  9
    support its position.        Presumably the documentation exists, including in
 10
    communications among Defendants senior retail division management and HR
 11
    personnel.
 12
           Plaintiff is only seeking communications from 11 persons who all may have
 13
    relevant information concerning his claims. Communications are stored electronically.
 14
 15 It should not be a hardship at all for Defendant to search the communications of 11
 16 persons to produce documents that mention or refer to Plaintiff. The requests are not
 17 overburdensome, and Goodyear has failed to make the required showing that they are.
 18 Nagele, 193 F.R.D. at109 (overruling burdensome objection because objecting party
 19 had failed to “particularize” basis for objection). Defendant can produce privacy
 20 protected or privileged documents subject to the terms of the Protective Order entered
 21 in this matter. Defendant cannot refuse to produce documents on privacy or privilege
 22 grounds.
 23                 2.    Defendant’s Position
 24         As Defendant’s counsel explained on the meet and confer conference with
 25 Plaintiff’s counsel, these requests are grossly overbroad as they request all
 26
    communications (“e-mails, texts, direct messages, etc.”) even referencing Plaintiff
 27
    sent/received by 11 individuals for over 11 years. (Ross Decl. ¶ 5.) Even the
 28
    “limitation” from January 1, 2016 is still over six years of requested communications

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  1 without any limitation to documents actually relevant to this case. On the call,
  2 Defendant’s counsel indicated they would need to discuss search terms to provide more
  3 specifics for searching through such documents, in addition to clarifying what
  4 communications he was seeking. (Id.) Instead of sending over proposed search terms
  5 for an e-mail search to clarify what Plaintiff is seeking by these requests, Plaintiff
  6 prematurely filed this motion. (Id.)
  7
            Other than referencing specific instances where he thinks these 11 individuals
  8
      may have been involved in his employment, he provides no argument and no authority
  9
      for why such specific instances justify the production of all emails referencing Plaintiff
 10
      for more than six years. In fact, for many of the individuals, Plaintiff’s only argument
 11
      for why all of their emails are relevant is his argument that he sent them complaints
 12
      (after he was notified of his termination). (Joiner Decl. ¶ 5.) The reference to
 13
      “correspondence with the employees regarding the restructuring of the Southern
 14
 15 California districts” as noted by Defendant in its discovery responses, is a red herring
 16 as that refers to a document sent to employees about the restructuring that was already
 17 produced and not to the extensive emails Plaintiff is seeking here. (Ross Decl. ¶ 15.)
 18      Plaintiff’s argument focuses on his assumption of what emails he think must
 19 exist, which is insufficient to justify an intrusion into 6 years of emails for 11
 20 employees. Regardless, Defendant is not refusing to produce emails, but is simply
 21 requesting that Plaintiff provide search terms to narrow this grossly overbroad request,
 22 as Defendant’s counsel previously requested during the meet and confer process.
 23       D.    Request Nos. 80-84: Plaintiff’s Communications
 24 REQUEST FOR PRODUCTION NO. 80:
 25     Any and all electronic mail sent or authored by PLAINTIFF while EMPLOYED
 26
      by YOU from January 1, 2016, to the present.
 27
      RESPONSE TO REQUEST FOR PRODUCTION NO. 80:
 28


                                                 27
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  1         Defendant incorporates by reference each and every one of the objections set
  2 forth in the General Objections into this response. Defendant objects to this request on
  3 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
  4 harassing. Defendant also objects to this request to the extent that such documents are
  5 neither relevant nor reasonably calculated to lead to the discovery of admissible
  6 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
  7
    proprietary documents. Defendant objects to this request to the extent it seeks
  8
    documents regarding employees of Defendant and other third parties on the grounds
  9
    that such documents are irrelevant and privileged and confidential under the
 10
    constitutional rights of privacy.
 11
    REQUEST FOR PRODUCTION NO. 81:
 12
           Any and all electronic mail received by PLAINTIFF while EMPLOYED by
 13
    YOU from January 1, 2016, to the present.
 14
 15 RESPONSE TO REQUEST FOR PRODUCTION NO. 81:
 16         Defendant incorporates by reference each and every one of the objections set
 17 forth in the General Objections into this response. Defendant objects to this request on
 18 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 19 harassing. Defendant also objects to this request to the extent that such documents are
 20 neither relevant nor reasonably calculated to lead to the discovery of admissible
 21 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 22 proprietary documents. Defendant objects to this request to the extent it seeks
 23 documents regarding employees of Defendant and other third parties on the grounds
 24 that such documents are irrelevant and privileged and confidential under the
 25 constitutional rights of privacy.
 26
      REQUEST FOR PRODUCTION NO. 82:
 27
            Any and all electronic mail RELATING or pertaining to PLAINTIFF’s
 28
      EMPLOYMENT by YOU, including but not limited to any and all electronic mail

                                                 28
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  1 RELATING to PLAINTIFF’s job performance, leave(s) of absence, TERMINATION,
  2 disabilities, ability to do his job, etc. from January 1, 2016 to the present.
  3 RESPONSE TO REQUEST FOR PRODUCTION NO. 82:
  4         Defendant incorporates by reference each and every one of the objections set
  5 forth in the General Objections into this response. Defendant objects to this request on
  6 the grounds that it is compound, overbroad in time and scope, burdensome, oppressive,
  7
      and harassing. Defendant also objects to this request to the extent that such documents
  8
      are neither relevant nor reasonably calculated to lead to the discovery of admissible
  9
      evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 10
      proprietary documents. Defendant objects that this request assumes facts not in
 11
      evidence. Defendant objects to this request to the extent it seeks documents regarding
 12
      employees of Defendant and other third parties on the grounds that such documents are
 13
      irrelevant and privileged and confidential under the constitutional rights of privacy.
 14
 15 Defendant also objects to this request to the extent it seeks documents that are privileged
 16 and confidential pursuant to the attorney-client privilege and/or the attorney
 17 workproduct doctrine, and/or concerns information obtained in anticipation of
 18 litigation. Defendant objects that this request calls for a legal conclusion.
 19 REQUEST FOR PRODUCTION NO. 83:
 20         Any and all DOCUMENTS, including but not limited to letters and electronic
 21 mail, sent by PLAINTIFF to YOU from January 1, 2016, to the present.
 22 RESPONSE TO REQUEST FOR PRODUCTION NO. 83:
 23        Defendant incorporates by reference each and every one of the objections set
 24 forth in the General Objections into this response. Defendant objects to this request on
 25 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 26
    harassing. Defendant also objects to this request to the extent that such documents are
 27
    neither relevant nor reasonably calculated to lead to the discovery of admissible
 28
    evidence. Defendant further objects to this request insofar as it seeks confidential and/or

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  1 proprietary documents. Defendant objects to this request to the extent it seeks
  2 documents regarding employees of Defendant and other third parties on the grounds
  3 that such documents are irrelevant and privileged and confidential under the
  4 constitutional rights of privacy.
  5 REQUEST FOR PRODUCTION NO. 84:
  6     Any and all DOCUMENTS, including but not limited to letters and electronic
  7
      mail, sent by YOU to PLAINTIFF from January 1, 2016, to the present.
  8
      RESPONSE TO REQUEST FOR PRODUCTION NO. 84:
  9
            Defendant incorporates by reference each and every one of the objections set
 10
      forth in the General Objections into this response. Defendant objects to this request on
 11
      the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 12
      harassing. . Defendant also objects to this request to the extent that such documents are
 13
      neither relevant nor reasonably calculated to lead to the discovery of admissible
 14
 15 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 16 proprietary documents. Defendant objects to this request to the extent it seeks
 17 documents regarding employees of Defendant and other third parties on the grounds
 18 that such documents are irrelevant and privileged and confidential under the
 19 constitutional rights of privacy.
 20                  1.     Plaintiff’s Position
 21         Plaintiff’s communications with Defendant are clearly relevant to his claims. His
 22 communications will have relevant information, among others, concerning the
 23 performance of his district, his requests for protected leave, and his complaints to
 24 Goodyear of unlawful conduct. Goodyear has produced several e-mails from Plaintiff
 25 that the company apparently feels supports its defenses and yet has denied Plaintiff the
 26
    ability to discover any others. The requests are not overbroad as to time as Plaintiff
 27
    limits them to January 1, 2016 to the present. Defendant objects that the requests are
 28
    overburdensome but has failed to make any showing concerning the burden of

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  1 producing the requested documents. Defendant has not provided information on the
  2 size of the potential production or how long it would take to assemble the production or
  3 suggested any ways to limit the scope of the production to reduce the burden. To the
  4 extent Defendant has business confidentiality or third-party privacy concerns about
  5 producing the documents, Plaintiff is willing to enter into agreed upon protective order.
  6 Defendant can produce the documents subject to the order’s terms if it chooses.
  7
    Defendant has further made no showing that any third-party privacy concerns exist.
  8
    Defendant must produce these relevant documents.
  9
           At the parties’ March 25, 2022 telephonic meet and confer, Plaintiff’s counsel
 10
    and Defendant’s counsel agreed to meet and confer further on potential search terms for
 11
    Plaintiff’s e-mails. However, given the compressed discovery time frame for this case,
 12
    the fact that Defendant did not meet and confer until on the last possible day per LR 37-
 13
    1 and the fact that it does not appear that Defendant has even begun to search for the
 14
 15 requested e-mails, Plaintiff has no choice but to seek to compel these documents to
 16 preserve his discovery rights. If Defendant is able to produce all responsive documents
 17 before the hearing date, Plaintiff will withdraw notify the Court.
 18                   2.   Defendant’s Position
 19         As Defendant’s counsel explained on the meet and confer conference with
 20 Plaintiff’s counsel, these requests are grossly overbroad as they request all emails or
 21 letters to or from Plaintiff at any time on any topic for over four years. (Ross Decl. ¶
 22 5.) There is no limitation to anything relevant to this case. On the call, Defendant’s
 23 counsel indicated they would need to discuss search terms to provide more specifics for
 24 searching through such emails. (Id.) Instead of sending over proposed search terms to
 25 clarify what Plaintiff is seeking by these requests, Plaintiff prematurely filed this
 26
      motion. (Id.)
 27
            Plaintiff has provided no argument or authority regarding why all emails/letters
 28
      to/from him since January 2016 are relevant without specific search terms and even

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  1 admits that the Parties discussed such terms on their meet and confer conference but
  2 that he chose to file this motion instead of sending proposed search terms.
  3
  4         E.     Request Nos. 16, 30-32: Investigation of Plaintiff and His Claims
  5 REQUEST FOR PRODUCTION NO. 16:
  6        All DOCUMENTS RELATING to any investigation of PLAINTIFF’s conduct
  7
    or job performance (whether formal or informal, including just “looking into”
  8
    PLAINTIFF’s conduct or job performance), from January 1, 2011, through his
  9
    TERMINATION, including but not limited to emails, notes, memoranda, meeting
 10
    minutes, investigation documents, investigation files, investigation reports, witness
 11
    statements (written or oral, including any recordings).
 12
    RESPONSE TO REQUEST FOR PRODUCTION NO. 16:
 13
           Defendant incorporates by reference each and every one of the objections set
 14
 15 forth in the General Objections into this response. Defendant objects to this request on
 16 the grounds that it is compound, overbroad in scope, burdensome, oppressive, and
 17 harassing. Defendant also objects to this request to the extent that such documents are
 18 neither relevant nor reasonably calculated to lead to the discovery of admissible
 19 evidence. Specifically, this request seeks an extraordinary amount of documents such
 20 as all charges, interviews, conclusions, findings, statements, written declarations,
 21 written statements, reports, and any other “investigations.” Defendant objects to this
 22 request on the grounds that it is vague and ambiguous as to the term “any investigation.”
 23 Defendant further objects to this request insofar as it seeks confidential and/or
 24 proprietary documents. Defendant also objects to this request to the extent it seeks
 25 documents that are privileged and confidential pursuant to the attorney-client privilege
 26
      and/or the attorney work-product doctrine, and/or concerns information obtained in
 27
      anticipation of litigation. Additionally, Defendant objects to this request to the extent it
 28
      seeks documents regarding employees of Defendant and other third parties on the

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  1 grounds that such documents are irrelevant and privileged and confidential under the
  2 constitutional rights of privacy.
  3 REQUEST FOR PRODUCTION NO. 30:
  4         All DOCUMENTS that reflect any investigation by YOU of any complaints
  5 made by PLAINTIFF to YOU regarding discrimination, harassment, or retaliation or of
  6 any other law(s) or your ethics or compliance policies.
  7
      RESPONSE TO REQUEST FOR PRODUCTION NO. 30:
  8
            Defendant incorporates by reference each and every one of the objections set
  9
      forth in the General Objections into this response. Defendant objects to this request on
 10
      the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 11
      harassing. Defendant further objects to this request on the grounds that it is vague and
 12
      ambiguous as to the terms “investigation” and “complaints.” Defendant also objects to
 13
      this request to the extent that such documents are neither relevant nor reasonably
 14
 15 calculated to lead to the discovery of admissible evidence. Defendant further objects to
 16 this request insofar as it seeks confidential and/or proprietary documents. Defendant
 17 also objects to this request to the extent it seeks documents that are privileged and
 18 confidential pursuant to the attorney-client privilege and/or the attorney work-product
 19 doctrine, and/or concerns information obtained in anticipation of litigation. Defendant
 20 further objects that this interrogatory calls for a legal conclusion. Defendant objects to
 21 this request to the extent it seeks documents regarding employees of Defendant and
 22 other third parties on the grounds that such documents are irrelevant and privileged and
 23 confidential under the constitutional rights of privacy.
 24 REQUEST FOR PRODUCTION NO. 31:
 25     All DOCUMENTS reflecting YOUR investigation of PLAINTIFF’s Department
 26
      of Fair Employment and Housing complaint.
 27
      RESPONSE TO REQUEST FOR PRODUCTION NO. 31:
 28


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  1         Defendant incorporates by reference each and every one of the objections set
  2 forth in the General Objections into this response. Defendant objects to this request on
  3 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
  4 harassing. Defendant further objects to this request on the grounds that it is vague and
  5 ambiguous as to the term “investigation”. Defendant also objects to this request to the
  6 extent that such documents are neither relevant nor reasonably calculated to lead to the
  7
    discovery of admissible evidence. Defendant further objects to this request insofar as it
  8
    seeks confidential and/or proprietary documents. Defendant also objects to this request
  9
    to the extent it seeks documents that are privileged and confidential pursuant to the
 10
    attorney-client privilege and/or the attorney work-product doctrine, and/or concerns
 11
    information obtained in anticipation of litigation.
 12
    REQUEST FOR PRODUCTION NO. 32:
 13
           Any and all DOCUMENTS pertaining to any investigation(s) (whether formal or
 14
 15 informal) into the allegations made by PLAINTIFF in the COMPLAINT, including but
 16 not limited to written statements of witnesses, notes of interviews with witnesses, tape
 17 recordings of any and all oral statements and/or interview of witnesses, transcriptions
 18 of any tape recordings of any and all oral statements and/or interviews of witnesses, and
 19 reports regarding the results of any and all investigations and/or correspondence
 20 pertaining to the allegations contained in the COMPLAINT.
 21 RESPONSE TO REQUEST FOR PRODUCTION NO. 32:
 22         Defendant incorporates by reference each and every one of the objections set
 23 forth in the General Objections into this response. Defendant objects to this request on
 24 the grounds that it is compound, overbroad in time and scope, burdensome, oppressive,
 25 and harassing. Defendant further objects to this request on the grounds that it is vague
 26
    and ambiguous as to the term “investigation.” Defendant also objects to this request to
 27
    the extent that such documents are neither relevant nor reasonably calculated to lead to
 28
    the discovery of admissible evidence. Defendant further objects to this request insofar

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  1 as it seeks confidential and/or proprietary documents. Defendant also objects to this
  2 request to the extent it seeks documents that are privileged and confidential pursuant to
  3 the attorney-client privilege and/or the attorney work-product doctrine, and/or concerns
  4 information obtained in anticipation of litigation. Defendant objects to this request to
  5 the extent it seeks documents regarding employees of Defendant and other third parties
  6 on the grounds that such documents are irrelevant and privileged and confidential under
  7
    the constitutional rights of privacy.
  8
                    1.     Plaintiff’s Position
  9
           RFP 16 seeks documents concerning any investigation of Plaintiff’s job
 10
    performance or conduct. These documents are relevant evidence or likely to lead to the
 11
    discovery of admissible evidence concerning whether Defendant’s stated performance
 12
    related reasons for Plaintiff’s termination were, in reality, pretext for discrimination.
 13
    (Cleaver Decl., Ex. 2, p. 4.) They are also relevant to Defendant’s unclean hands
 14
 15 affirmative defense. (Cleaver Decl. Ex. 8, DE 1-6 ¶ 8.)
 16         RFP’s 30 to 32 seek documents relating to its investigation of Plaintiff’s
 17 complaints of retaliation and discrimination. These documents are relevant to the
 18 discovery of facts to support Plaintiff’s claims and whether Defendant adequately
 19 investigated his complaints. They must be produced. Satchell v. FedEx Corp., 2005
 20 WL 646058, at *4 (N.D. Cal. Mar. 21, 2005) (ordering production of defendant’s
 21 “internal investigation of complaints of discrimination to the extent they are not
 22 privileged”). Defendant cannot use the attorney client privilege or work product
 23 doctrine to shield its investigation(s) from discovery. First Defendant has presented
 24 zero facts to establish the privilege or work product doctrine might apply. Even if
 25 Defendant claimed an attorney conducted or directed the investigation, the privilege
 26
    still would not apply. Plaintiff has brought a failure to prevent discrimination and
 27
    retaliation claim against Defendant. (Cleaver Decl. Ex. 8, DE 1-2 ¶¶ 60-65.)
 28
    Defendant’s thirty-third affirmative defense is that Defendant took prompt, corrective

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  1 action. (Cleaver Decl. Ex. 8, DE 1-6, ¶ 33.) Thus Plaintiff and Defendant have put the
  2 adequacy of any investigation that Defendant conducted concerning Plaintiff’s
  3 complaints at issue. “If a defendant employer hopes to prevail by showing that it
  4 investigated an employee’s complaint and took action appropriate to the findings of the
  5 investigation, then it will have put the adequacy of the investigation at issue and cannot
  6 stand on the attorney-client privilege or work product doctrine to preclude a thorough
  7
      examination of its adequacy.” Wellpoint Health Networks, Inc. v. Sup. Ct., 59 Cal. 4th
  8
      110, 128 (1997). Defendant must produce documents related to any investigation of
  9
      Plaintiff’s retaliation and discrimination complaints.
 10
                     2.     Defendant’s Position
 11
            As Defendant’s counsel explained on the meet and confer conference with
 12
      Plaintiff’s counsel, these requests were overbroad and vague and ambiguous as worded.
 13
      (Ross Decl. ¶ 9.) It was unclear what Plaintiff was seeking regarding an “investigation”
 14
 15 into his job performance (RFP 16) and it was unclear what documents he was seeking
 16 regarding any “investigation” into the complaints he made after he was informed he
 17 employment was terminated (the only time he made such alleged complaints) (RFPs
 18 30-32) (Joiner Decl. ¶ 5.) In any event, after Plaintiff’s counsel further explained on
 19 the meet and confer call what he was seeking by these requests, Defendant’s counsel
 20 agreed to review and respond. (Ross Decl. ¶ 9.) Defendant will agree to provide
 21 supplemental responses to these requests.
 22         F.     Request Nos. 36-38, 43, 48, 50-51, 53-55: Job Performance Metrics
 23 REQUEST FOR PRODUCTION NO. 36:
 24     All DOCUMENTS RELATING to the AOP (“Annual Operating Plan”) such as
 25 annual AOP, changes to annual AOP, etc. for YOUR RETAIL DISTRICTS from
 26
    January 1, 2016 to the present, including but not limited to summaries of AOP by
 27
    district.
 28
    RESPONSE TO REQUEST FOR PRODUCTION NO. 36:

                                                 36
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  1         Defendant incorporates by reference each and every one of the objections set
  2 forth in the General Objections into this response. Defendant objects to this request on
  3 the grounds that it is compound, overbroad in time and scope, burdensome, oppressive,
  4 and harassing. Defendant also objects that the phrase “Annual Operating Plan” is vague
  5 and ambiguous. Defendant also objects to this request to the extent that such documents
  6 are neither relevant nor reasonably calculated to lead to the discovery of admissible
  7
    evidence. Defendant further objects to this request insofar as it seeks confidential and/or
  8
    proprietary documents. Defendant also objects to this request to the extent it seeks
  9
    documents that are privileged and confidential pursuant to the attorney-client privilege
 10
    and/or the attorney work-product doctrine, and/or concerns information obtained in
 11
    anticipation of litigation.
 12
    REQUEST FOR PRODUCTION NO. 37:
 13
           All DOCUMENTS RELATING to the calculation of AOP for YOUR RETAIL
 14
 15 DISTRICTS from January 1, 2016 to the present.
 16 RESPONSE TO REQUEST FOR PRODUCTION NO. 37:
 17     Defendant incorporates by reference each and every one of the objections set
 18 forth in the General Objections into this response. Defendant objects to this request on
 19 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 20 harassing. Defendant also objects that the phrase “Annual Operating Plan” is vague and
 21 ambiguous. Defendant also objects to this request to the extent that such documents are
 22 neither relevant nor reasonably calculated to lead to the discovery of admissible
 23 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 24 proprietary documents. Defendant also objects to this request to the extent it seeks
 25 documents that are privileged and confidential pursuant to the attorney-client privilege
 26
      and/or the attorney work-product doctrine, and/or concerns information obtained in
 27
      anticipation of litigation.
 28
      REQUEST FOR PRODUCTION NO. 38:

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  1         Monthly and annual detailed Operating Statements (in native electronic format)
  2 for District 0759 in YOUR Retail Division from January 1, 2016 to the present.
  3 RESPONSE TO REQUEST FOR PRODUCTION NO. 38:
  4         Defendant incorporates by reference each and every one of the objections set
  5 forth in the General Objections into this response. Defendant objects to this request on
  6 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
  7
      harassing. Defendant also objects that the phrase “Operating Statements” is vague and
  8
      ambiguous. Defendant also objects to this request to the extent that such documents are
  9
      neither relevant nor reasonably calculated to lead to the discovery of admissible
 10
      evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 11
      proprietary documents. Defendant also objects to this request to the extent it seeks
 12
      documents that are privileged and confidential pursuant to the attorney-client privilege
 13
      and/or the attorney work-product doctrine, and/or concerns information obtained in
 14
 15 anticipation of litigation.
 16 REQUEST FOR PRODUCTION NO. 43:
 17         All DOCUMENTS (e.g. spreadsheets, presentations, reports, etc.) concerning
 18 2019 wage rate changes for YOUR RETAIL STORES in California, including but not
 19 limited to DOCUMENTS RELATING to the financial impact on the labor changes to
 20 YOUR California RETAIL DISTRICTS.
 21 RESPONSE TO REQUEST FOR PRODUCTION NO. 43:
 22         Defendant incorporates by reference each and every one of the objections set
 23 forth in the General Objections into this response. Defendant objects to this request on
 24 the grounds that it is compound, overbroad in time and scope, burdensome, oppressive,
 25 and harassing. Defendant also objects to this request to the extent that such documents
 26
    are neither relevant nor reasonably calculated to lead to the discovery of admissible
 27
    evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 28
    proprietary documents. Defendant also objects to this request to the extent it seeks

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  1 documents that are privileged and confidential pursuant to the attorney-client privilege
  2 and/or the attorney work-product doctrine, and/or concerns information obtained in
  3 anticipation of litigation. Defendant objects to this request to the extent it seeks
  4 documents regarding employees of Defendant and other third parties on the grounds
  5 that such documents are irrelevant and privileged and confidential under the
  6 constitutional rights of privacy.
  7
      REQUEST FOR PRODUCTION NO. 48:
  8
            DOCUMENTS constituting Associate Engagement Surveys for all YOUR
  9
      RETAIL DISTRICTS from January 1, 2011 to the present.
 10
      RESPONSE TO REQUEST FOR PRODUCTION NO. 48:
 11
            Defendant incorporates by reference each and every one of the objections set
 12
      forth in the General Objections into this response. Defendant objects to this request on
 13
      the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 14
 15 harassing. Defendant also objects to this request to the extent that such documents are
 16 neither relevant nor reasonably calculated to lead to the discovery of admissible
 17 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 18 proprietary documents. Defendant also objects to this request to the extent it seeks
 19 documents that are privileged and confidential pursuant to the attorney-client privilege
 20 and/or the attorney work-product doctrine, and/or concerns information obtained in
 21 anticipation of litigation. Defendant objects to this request to the extent it seeks
 22 documents regarding employees of Defendant and other third parties on the grounds
 23 that such documents are irrelevant and privileged and confidential under the
 24 constitutional rights of privacy.
 25 REQUEST FOR PRODUCTION NO. 50:
 26
         All DOCUMENTS RELATING to any Occupational Safety and Health Agency
 27
    (“OSHA”), state or federal, complaints made against YOUR RETAIL STORES,
 28


                                                 39
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  1 including but not limited to the number of OSHA complaints by RETAIL DISTRICT
  2 from January 1, 2016 to the present.
  3 RESPONSE TO REQUEST FOR PRODUCTION NO. 50:
  4         Defendant incorporates by reference each and every one of the objections set
  5 forth in the General Objections into this response. Defendant objects to this request on
  6 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
  7
      harassing. Defendant also objects to this request to the extent that such documents are
  8
      neither relevant nor reasonably calculated to lead to the discovery of admissible
  9
      evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 10
      proprietary documents. Defendant also objects to this request to the extent it seeks
 11
      documents that are privileged and confidential pursuant to the attorney-client privilege
 12
      and/or the attorney work-product doctrine, and/or concerns information obtained in
 13
      anticipation of litigation. Defendant objects to this request to the extent it seeks
 14
 15 documents regarding employees of Defendant and other third parties on the grounds
 16 that such documents are irrelevant and privileged and confidential under the
 17 constitutional rights of privacy.
 18 REQUEST FOR PRODUCTION NO. 51:
 19         All Facility Maintenance requests for PLAINTIFF’s district from January 1,
 20 2016 to the present.
 21 RESPONSE TO REQUEST FOR PRODUCTION NO. 51:
 22         Defendant incorporates by reference each and every one of the objections set
 23 forth in the General Objections into this response. Defendant objects to this request on
 24 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 25 harassing. Defendant objects to this request as the phrase “Facility Maintenance
 26
    requests” is vague and ambiguous. Defendant also objects to this request to the extent
 27
    that such documents are neither relevant nor reasonably calculated to lead to the
 28
    discovery of admissible evidence. Defendant further objects to this request insofar as it

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  1 seeks confidential and/or proprietary documents. Defendant also objects to this request
  2 to the extent it seeks documents that are privileged and confidential pursuant to the
  3 attorney-client privilege and/or the attorney work-product doctrine, and/or concerns
  4 information obtained in anticipation of litigation.
  5 REQUEST FOR PRODUCTION NO. 53:
  6         All DOCUMENTS constituting compilations and/or summary (in native
  7
      electronic format) of guest satisfaction statistics (e.g. social media, phone customer
  8
      complaints, etc.) for YOUR RETAIL STORES and RETAIL DISTRICTS from January
  9
      1, 2016 to the present.
 10
      RESPONSE TO REQUEST FOR PRODUCTION NO. 53:
 11
            Defendant incorporates by reference each and every one of the objections set
 12
      forth in the General Objections into this response. Defendant objects to this request on
 13
      the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 14
 15 harassing. Defendant also objects to this request to the extent that such documents are
 16 neither relevant nor reasonably calculated to lead to the discovery of admissible
 17 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 18 proprietary documents. Defendant also objects to this request to the extent it seeks
 19 documents that are privileged and confidential pursuant to the attorney-client privilege
 20 and/or the attorney work-product doctrine, and/or concerns information obtained in
 21 anticipation of litigation. Defendant objects to this request to the extent it seeks
 22 documents regarding employees of Defendant and other third parties on the grounds
 23 that such documents are irrelevant and privileged and confidential under the
 24 constitutional rights of privacy.
 25 REQUEST FOR PRODUCTION NO. 54:
 26
           All DOCUMENTS constituting compilations and/or summaries (in native
 27
    electronic format) of audits of YOUR RETAIL STORES and RETAIL DISTRICTS
 28
    from January 1, 2016 to the present.

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  1 RESPONSE TO REQUEST FOR PRODUCTION NO. 54:
  2         Defendant incorporates by reference each and every one of the objections set
  3 forth in the General Objections into this response. Defendant objects to this request on
  4 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
  5 harassing. Defendant also objects to this request to the extent that such documents are
  6 neither relevant nor reasonably calculated to lead to the discovery of admissible
  7
      evidence. Defendant further objects to this request insofar as it seeks confidential and/or
  8
      proprietary documents. Defendant also objects to this request to the extent it seeks
  9
      documents that are privileged and confidential pursuant to the attorney-client privilege
 10
      and/or the attorney work-product doctrine, and/or concerns information obtained in
 11
      anticipation of litigation. Defendant objects to this request to the extent it seeks
 12
      documents regarding employees of Defendant and other third parties on the grounds
 13
      that such documents are irrelevant and privileged and confidential under the
 14
 15 constitutional rights of privacy.
 16 REQUEST FOR PRODUCTION NO. 55:
 17         All KPI reports and summaries for YOUR RETAIL STORES and RETAIL
 18 DISTRICTS from January 1, 2016 to the present.
 19 RESPONSE TO REQUEST FOR PRODUCTION NO. 55:
 20         Defendant incorporates by reference each and every one of the objections set
 21 forth in the General Objections into this response. Defendant objects to this request on
 22 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 23 harassing. Defendant also objects to this request to the extent that such documents are
 24 neither relevant nor reasonably calculated to lead to the discovery of admissible
 25 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 26
      proprietary documents. Defendant also objects to this request to the extent it seeks
 27
      documents that are privileged and confidential pursuant to the attorney-client privilege
 28


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  1 and/or the attorney work-product doctrine, and/or concerns information obtained in
  2 anticipation of litigation.
  3                 1.      Plaintiff’s Position
  4         These documents are relevant to Plaintiff’s claims, and Defendant’s expected
  5 defenses. For instance, to establish a prima facie case of age discrimination, Plaintiff
  6 must establish that he was performing satisfactorily at the time of his termination.
  7
      Sandell v. Taylor-Listug, Inc., 188 Cal. App. 4th 298, 321 (2010). Defendant maintains
  8
      that Plaintiff was terminated due to poor performance. (Cleaver Decl., Ex. 2, p. 4.)
  9
      Thus, documents concerning Plaintiff’s performance are highly relevant to his claims
 10
      to establish that Defendant’s stated reason(s) for terminating him were pretext for
 11
      discrimination and retaliation. Defendant’s responses list Plaintiff’s mid-year and year-
 12
      end performance reviews as documents that Defendant relied upon when determining
 13
      whether to terminate Plaintiff.
 14
 15         The documents requested largely seek information on the sales and performance

 16 metrics referenced in Plaintiff’s 2019 mid-year review, his last review before he was
 17 terminated. (Cleaver Decl. Ex. 6.) The review criticizes Plaintiff for not meeting his
 18 target goals for Store Controlled Contribution (“SCC”) and Annual Operating Plan
 19 (“AOP”). The review asserts that the stores in Plaintiff’s district were behind their prior
 20 year results. The review criticizes Plaintiff for having disappointing “margin dollars”
 21 and claims his “G3 tire units are behind .5 units per day.” The report criticizes Plaintiff
 22 for his purported shortcomings in other performance metrics such as non-tire sales,
 23 brakes, the alignment category, steering and suspension, the PM category, and
 24 ventilation service. Most, if not all of these metrics are tracked in the district operating
 25 statements. The SCC and the AOP were set by Plaintiff’s superiors and, thus the
 26
    variations of the AOP during his employment are relevant to his claims that Defendant
 27
    discriminated and retaliated against him, e.g. by increasing his AOP and SCC targets
 28
    to make it appear Plaintiff’s performance was suffering. The AOP and SCC of

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  1 Plaintiff’s comparators are relevant to his discrimination and retaliation claims as well,
  2 e.g. by evidencing younger district managers with worse or equal performance results
  3 to Plaintiff were not terminated while Plaintiff was.
  4         The 2019 evaluation also criticizes Plaintiff for not achieving his KPI goal. The
  5 review criticizes him for poor audit results, guest experience results, poor social media
  6 scores. The evaluation also criticizes his results in comparison to prior years in 2017
  7
      and 2018. (Cleaver Decl. Ex. 6.) Defendant cannot deny Plaintiff from conducting
  8
      discovery on the documents and metrics that purportedly formed the basis for the
  9
      review. Plaintiff also has the right to conduct discovery on performance measures other
 10
      than those identified by Defendant that he maintains demonstrate that he was
 11
      performing well.
 12
            RFP 39 seeks the operating statements for Defendant’s retail district 0759. This
 13
      is the district with no stores that Plaintiff’s alleges Defendant established to siphon
 14
 15 profits from its retail districts and stores to reduce manager bonuses. After Plaintiff
 16 complained about the district, Plaintiff alleges Defendant retaliated against him an
 17 ultimately terminated his employment. (Cleaver Decl. Ex. 7, DE 1-2 ¶¶ 15-20.) The
 18 operating statements will provide evidence to support Plaintiff’s claim that he
 19 reasonably believed that Defendant was siphoning profits to steal bonus money from its
 20 managers.
 21         The time frame for the requests is not overbroad. The request seeks documents
 22 four years and four months before Plaintiff’s termination and less than two years after
 23 Plaintiff’s termination. Neither of these time periods is overbroad. See e.g. Chamberlin,
 24 247 F.R.D. at 291 (allowing the plaintiff to ask deposition questions concerning the
 25 reason for discharge or discipline, the age and disability status of each employee
 26
    discharged or disciplined five years prior to the plaintiff’s termination).
 27
 28


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  1         To the extent Defendant has business confidentiality concerns about producing
  2 the documents, a Protective Order has been entered in this case. (DE 16.) Defendant
  3 can produce documents subject to its terms.
  4                  2.    Defendant’s Position
  5         As Defendant’s counsel explained on the meet and confer conference with
  6 Plaintiff’s counsel, these requests are grossly overbroad and seek extensive and
  7
    irrelevant documents regarding all district managers across the entire country, many
  8
    of which seek any documents “relating” to other documents which make them even
  9
    broader. (Ross Decl. ¶ 6.) Plaintiff has provided no argument regarding why he is
 10
    entitled to such a broad amount of documents here.
 11
           First, his main argument is that he is entitled to documents regarding his own
 12
    performance, which he already has from prior productions. The performance reviews
 13
    he mentions list specific performance metrics and numbers. (Joiner Decl. ¶ 7.) In any
 14
 15 event, his requests are grossly overbroad and overly burdensome as they request
 16 extensive performance metrics throughout a more than six year period (including more
 17 than two years when Plaintiff was no longer employed).
 18         Plaintiff’s argument regarding his request for performance metrics for “District
 19 0759” (RFP 38) is a red herring as this was not an operating district but an accounting
 20 “district” set up as a cost center for some holdback funds derived from all districts in
 21 order to pay for expenses not specific to any one district. (Joiner Decl. ¶ 4; Ross Decl.
 22 ¶ 8.) This was not, as Plaintiff alleges in his conspiracy theories, an effort to “siphon
 23 profits from its retail districts and store to reduce manager bonuses” and Plaintiff has
 24 no evidence in support of this, as none exists.
 25        In any event, Defendant will agree to supplement these requests and produce
 26
    further documents regarding the performance metrics of Plaintiff and other district
 27
    managers in the South Region from January 1, 2016 through December 31, 2019 (as the
 28
    decision regarding Plaintiff’s termination was made based on performance metrics

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  1 through 2019 only), as CONFIDENTIAL subject to the Protective Order in this action.
  2 (Joiner Decl. ¶¶ 2, 5, 6.) Such performance will show, contrary to Plaintiff’s allegations,
  3 that his performance was vastly inferior to other district managers, justifying the end of
  4 his employment.
  5       G.   Request Nos. 39-42: Bonus Plan Related Documents
  6 REQUEST FOR PRODUCTION NO. 39:
  7
           All DOCUMENTS RELATING to bonus plans (annual plans, changes/updates
  8
    to annual plans, etc.) for store managers in YOUR RETAIL STORES from January 1,
  9
    2016 to the present.
 10
    RESPONSE TO REQUEST FOR PRODUCTION NO. 39:
 11
           Defendant incorporates by reference each and every one of the objections set
 12
    forth in the General Objections into this response. Defendant objects to this request on
 13
    the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 14
 15 harassing. Defendant also objects to this request to the extent that such documents are
 16 neither relevant nor reasonably calculated to lead to the discovery of admissible
 17 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 18 proprietary documents. Defendant also objects to this request to the extent it seeks
 19 documents that are privileged and confidential pursuant to the attorney-client privilege
 20 and/or the attorney work-product doctrine, and/or concerns information obtained in
 21 anticipation of litigation. Defendant objects to this request to the extent it seeks
 22 documents regarding employees of Defendant and other third parties on the grounds
 23 that such documents are irrelevant and privileged and confidential under the
 24 constitutional rights of privacy.
 25 REQUEST FOR PRODUCTION NO. 40:
 26
          All DOCUMENTS RELATING to bonus plans (annual plans, changes/updates
 27
    to annual plans, etc.) for district managers in YOUR RETAIL DISTRICTS from
 28
    January 1, 2016 to the present.

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  1 RESPONSE TO REQUEST FOR PRODUCTION NO. 40:
  2         Defendant incorporates by reference each and every one of the objections set
  3 forth in the General Objections into this response. Defendant objects to this request on
  4 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
  5 harassing. Defendant also objects to this request to the extent that such documents are
  6 neither relevant nor reasonably calculated to lead to the discovery of admissible
  7
      evidence. Defendant further objects to this request insofar as it seeks confidential and/or
  8
      proprietary documents. Defendant also objects to this request to the extent it seeks
  9
      documents that are privileged and confidential pursuant to the attorney-client privilege
 10
      and/or the attorney work-product doctrine, and/or concerns information obtained in
 11
      anticipation of litigation. Defendant objects to this request to the extent it seeks
 12
      documents regarding employees of Defendant and other third parties on the grounds
 13
      that such documents are irrelevant and privileged and confidential under the
 14
 15 constitutional rights of privacy.
 16 REQUEST FOR PRODUCTION NO. 41:
 17         All DOCUMENTS RELATING to bonus plans (annual plans, changes/updates
 18 to annual plans, etc.) for general managers in YOUR Retail Division from January 1,
 19 2016 to the present.
 20 RESPONSE TO REQUEST FOR PRODUCTION NO. 41:
 21         Defendant incorporates by reference each and every one of the objections set
 22 forth in the General Objections into this response. Defendant objects to this request on
 23 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 24 harassing. Defendant also objects to this request to the extent that such documents are
 25 neither relevant nor reasonably calculated to lead to the discovery of admissible
 26
      evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 27
      proprietary documents. Defendant also objects to this request to the extent it seeks
 28
      documents that are privileged and confidential pursuant to the attorney-client privilege

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  1 and/or the attorney work-product doctrine, and/or concerns information obtained in
  2 anticipation of litigation. Defendant objects to this request to the extent it seeks
  3 documents regarding employees of Defendant and other third parties on the grounds
  4 that such documents are irrelevant and privileged and confidential under the
  5 constitutional rights of privacy.
  6 REQUEST FOR PRODUCTION NO. 42:
  7
            All DOCUMENTS RELATING to quarterly and annual bonus plan payouts for
  8
      your 1) individual store managers; 2) individual district managers; and 3) individual
  9
      general managers in YOUR Retail Division from January 1, 2016 to the present.
 10
      RESPONSE TO REQUEST FOR PRODUCTION NO. 42:
 11
            Defendant incorporates by reference each and every one of the objections set
 12
      forth in the General Objections into this response. Defendant objects to this request on
 13
      the grounds that it is compound, overbroad in time and scope, burdensome, oppressive,
 14
 15 and harassing. Defendant also objects to this request to the extent that such documents
 16 are neither relevant nor reasonably calculated to lead to the discovery of admissible
 17 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 18 proprietary documents. Defendant also objects to this request to the extent it seeks
 19 documents that are privileged and confidential pursuant to the attorney-client privilege
 20 and/or the attorney work-product doctrine, and/or concerns information obtained in
 21 anticipation of litigation. Defendant objects to this request to the extent it seeks
 22 documents regarding employees of Defendant and other third parties on the grounds
 23 that such documents are irrelevant and privileged and confidential under the
 24 constitutional rights of privacy.
 25                  1.     Plaintiff’s Position
 26
            These documents are relevant to Plaintiff’s claims. Plaintiff has alleged that
 27
      Defendant retaliated against Plaintiff after he reported that Defendant’s retail division
 28
      executives siphoned money from the retail stores and districts to reduce bonus pay-outs

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  1 to district and store managers. (Cleaver Decl. Ex. 7, DE 1-2 ¶¶ 16-25.) Thus, the bonus
  2 plans are relevant because the plans will show the relationship between district and store
  3 profitability and the bonus payouts. The plans also constitute evidence concerning
  4 compensation Plaintiff was entitled to receive and are relevant to the calculation of
  5 Plaintiff’s damages.
  6         The request seeks information on bonus plans four years and four months before
  7
      Plaintiff’s termination and less than two years after Plaintiff’s termination. Neither of
  8
      these time periods is overbroad. See e.g. Chamberlin, 247 F.R.D. at 291 (allowing the
  9
      plaintiff to ask deposition questions concerning the reason for discharge or discipline,
 10
      the age and disability status of each employee discharged or disciplined five years prior
 11
      to the plaintiff’s termination).
 12
            To the extent Defendant has business confidentiality concerns about producing
 13
      the documents, a Protective Order has been entered in this case. (DE 16.) Defendant
 14
 15 can produce documents subject to its terms.
 16               2.   Defendant’s Position
 17         As Defendant’s counsel explained on the meet and confer conference with
 18 Plaintiff’s counsel, these requests are overbroad and overly burdensome as written as
 19 they seek all documents even tangentially relating to bonus plans for all store managers,
 20 district managers, and general managers throughout the entire country for over six
 21 years (including two years when Plaintiff was no longer employed) as well as the actual
 22 bonus payouts for each individual store manager, district manager and general
 23 manager throughout the entire country. (Ross Decl. ¶ 7.) First, Plaintiff was only
 24 employed as a district manager so there is no justification for seeking bonus plans for
 25 store managers and general managers. (Joiner Decl. ¶ 2.) Further, he has provided no
 26
    argument or authority for why he is allowed to seek such vast bonus plus, let alone the
 27
    actual payouts for each individual. At best, he makes the same conspiracy theory
 28
    argument regarding alleged siphoning of money from the retail stores and districts,

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  1 which is incorrect. Plaintiff cannot justify seeking such vast documents based on a
  2 conspiracy theory with no evidence in support thereof. (Joiner Decl. ¶ 4.) Regardless,
  3 as discussed with Plaintiff’s counsel previously, Defendant will agree to produce the
  4 district manager bonus plans in the South region from January 1, 2016 through
  5 December 31, 2019, as CONFIDENTIAL subject to the Protective Order in this action.
  6      H.    Request Nos. 46-47: Scrap Tire Fees
  7
      REQUEST FOR PRODUCTION NO. 46:
  8
            DOCUMENTS RELATING to the scrap tire charges paid to vendors (i.e. the
  9
      people/businesses that pick up scrap tires from YOUR RETAIL STORES) by district
 10
      from January 1, 2017 to the present.
 11
      RESPONSE TO REQUEST FOR PRODUCTION NO. 46:
 12
            Defendant incorporates by reference each and every one of the objections set
 13
      forth in the General Objections into this response. Defendant objects to this request on
 14
 15 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 16 harassing. Defendant also objects to this request to the extent that such documents are
 17 neither relevant nor reasonably calculated to lead to the discovery of admissible
 18 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 19 proprietary documents. Defendant also objects to this request to the extent it seeks
 20 documents that are privileged and confidential pursuant to the attorney-client privilege
 21 and/or the attorney work-product doctrine, and/or concerns information obtained in
 22 anticipation of litigation.
 23 REQUEST FOR PRODUCTION NO. 47:
 24         All DOCUMENTS (e.g. invoices) that evidence the prices charged by your scrap
 25 tire vendors to recover scrap tires from your RETAIL STORES from January 1, 2016
 26
    to the present.
 27
    RESPONSE TO REQUEST FOR PRODUCTION NO. 47:
 28


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  1         Defendant incorporates by reference each and every one of the objections set
  2 forth in the General Objections into this response. Defendant objects to this request on
  3 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
  4 harassing. Defendant also objects to this request to the extent that such documents are
  5 neither relevant nor reasonably calculated to lead to the discovery of admissible
  6 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
  7
    proprietary documents. Defendant also objects to this request to the extent it seeks
  8
    documents that are privileged and confidential pursuant to the attorney-client privilege
  9
    and/or the attorney work-product doctrine, and/or concerns information obtained in
 10
    anticipation of litigation.
 11
                     1.     Plaintiff’s Position
 12
           These documents are relevant to Plaintiff’s claim that Defendant’s retail division
 13
    executives siphoned money from the retail stores and districts to reduce bonus pay-outs
 14
 15 to district and store managers, and that Defendant retaliated against him for reporting
 16 it. (Cleaver Decl. Ex. 7, DE 1-2 ¶¶ 16-25.)
 17        The time frame is not overbroad. The request seeks documents on scrap tire
 18 charges four years and four months before Plaintiff’s termination and less than two
 19 years after Plaintiff’s termination. Neither of these time periods is overbroad. See e.g.
 20 Chamberlin, 247 F.R.D. at 291 (allowing the plaintiff to ask deposition questions
 21 concerning the reason for discharge or discipline, the age and disability status of each
 22 employee discharged or disciplined five years prior to the plaintiff’s termination).
 23      To the extent Defendant has business confidentiality concerns about producing
 24 the documents, a Protective Order has been entered in this case. (DE 16.) Defendant
 25 can produce documents subject to its terms.
 26
                     2.     Defendant’s Position
 27
            As Defendant’s counsel explained on the meet and confer conference with
 28
      Plaintiff’s counsel, these requests are overbroad and overly burdensome as written as

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  1 they seek all documents even tangentially relating to “scrap tire charges” for every store
  2 throughout the entire country for over six years (including two years when Plaintiff
  3 was no longer employed). (Ross Decl. ¶ 8.) Plaintiff’s only justification for seeking
  4 such records is the same conspiracy theory argument regarding alleged siphoning of
  5 money from the retail stores and districts, which is incorrect. (Joiner Decl. ¶ 4.)
  6 Plaintiff cannot justify seeking such vast documents based on a conspiracy theory with
  7
      no evidence in support thereof. Defendant will agree to provide supplemental responses
  8
      and produce some additional documents as CONFIDENTIAL subject to the Protective
  9
      Order in this action.
 10
            I.     Request Nos. 56-57, 59: Policies and Procedures
 11
      REQUEST FOR PRODUCTION NO. 56:
 12
            All DOCUMENTS that RELATE to, reflect, refer to, or record YOUR policies,
 13
      practices and procedures regarding medical leaves of absence, including but not limited
 14
 15 to, leaves of absence under the Family Medical Leave Act (“FMLA”) and/or the
 16 California Family Rights Act (“CFRA”).
 17 RESPONSE TO REQUEST FOR PRODUCTION NO. 56:
 18     Defendant incorporates by reference each and every one of the objections set
 19 forth in the General Objections into this response. Defendant objects to this request on
 20 the grounds that it is compound, overbroad in time and scope, burdensome, oppressive,
 21 and harassing. Defendant further objects to this request insofar as it seeks confidential
 22 and/or proprietary documents. Defendant also objects to this request to the extent it
 23 seeks documents that are privileged and confidential pursuant to the attorney-client
 24 privilege and/or the attorney work-product doctrine, and/or concerns information
 25 obtained in anticipation of litigation. Defendant objects to this request to the extent it
 26
    seeks documents regarding employees of Defendant and other third parties on the
 27
    grounds that such documents are irrelevant and privileged and confidential under the
 28
    constitutional rights of privacy.

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  1 REQUEST FOR PRODUCTION NO. 57:
  2         Any and all DOCUMENTS of any kind RELATING to, pertaining to, or
  3 constituting YOUR policies, procedures, or practices regarding unprotected leaves of
  4 any kind.
  5 RESPONSE TO REQUEST FOR PRODUCTION NO. 57:
  6        Defendant incorporates by reference each and every one of the objections set
  7
    forth in the General Objections into this response. Defendant objects to this request on
  8
    the grounds that it is overbroad in time and scope, burdensome, oppressive, and
  9
    harassing. Defendant also objects to this request to the extent that such documents are
 10
    neither relevant nor reasonably calculated to lead to the discovery of admissible
 11
    evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 12
    proprietary documents. Defendant also objects to this request to the extent it seeks
 13
    documents that are privileged and confidential pursuant to the attorney-client privilege
 14
 15 and/or the attorney work-product doctrine, and/or concerns information obtained in
 16 anticipation of litigation. Defendant objects to this request to the extent it seeks
 17 documents regarding employees of Defendant and other third parties on the grounds
 18 that such documents are irrelevant and privileged and confidential under the
 19 constitutional rights of privacy.
 20 REQUEST FOR PRODUCTION NO. 59:
 21         Any and all DOCUMENTS that evidence, PERTAIN or RELATE to any and all
 22 training or instructions provided by YOU, or on YOUR behalf or at YOUR request, to
 23 managers, supervisors, and human-resource personnel at the locations at which
 24 PLAINTIFF worked, RELATING or pertaining to YOUR disability-discrimination
 25 polices, including but not limited to YOUR reasonable-accommodation and interactive-
 26
      process policies, occurring from January 1, 2016, to the present.
 27
      RESPONSE TO REQUEST FOR PRODUCTION NO. 59:
 28


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  1         Defendant incorporates by reference each and every one of the objections set
  2 forth in the General Objections into this response. Defendant objects to this request on
  3 the grounds that it is compound, overbroad in time and scope, burdensome, oppressive,
  4 and harassing. Defendant objections on the grounds the terms “training” and
  5 “instruction” are vague and ambiguous. Defendant further objects to this request insofar
  6 as it seeks confidential and/or proprietary documents. Defendant also objects to this
  7
    request to the extent it seeks documents that are privileged and confidential pursuant to
  8
    the attorney-client privilege and/or the attorney work-product doctrine, and/or concerns
  9
    information obtained in anticipation of litigation. Defendant objects to this request to
 10
    the extent it seeks documents regarding employees of Defendant and other third parties
 11
    on the grounds that such documents are irrelevant and privileged and confidential under
 12
    the constitutional rights of privacy. Defendant also objects that this request calls for a
 13
    legal conclusion.
 14
 15        Subject to and without waiving the foregoing, Defendant responds as follows:

 16         Defendant will produce the applicable Goodyear Business Conduct Manuals.
 17         Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 18 its response.
 19                  1.     Plaintiff’s Position
 20         Defendant cannot credibly argue that its leave and disability accommodation
 21 policies are not relevant. Plaintiff is suing Defendant for violation of the California
 22 Family Rights Act and for violations of state disability discrimination laws regarding a
 23 protected leave that Plaintiff requested to care for his disabled spouse. Defendant’s
 24 protected leave and disability accommodation policies, are thus relevant to Plaintiff’s
 25 claims.
 26
            Defendant’s responses state that it produced its Business Conducts Manual in
 27
      response to in response to Plaintiff’s RFP No. 59, which seeks documents related to
 28
      Defendant’s disability discrimination, accommodation, and interactive process policies.

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  1 The Business Conduct Manual references disability discrimination once and does not
  2 have any policies concerning disability accommodations or the interactive process.
  3 Defendant must produce the requested documents.
  4         The time frame is not overbroad. The requests seek documents from four years
  5 and four months before Plaintiff’s termination and less than two years after Plaintiff’s
  6 termination. Neither of these time periods is overbroad. See e.g. Chamberlin, 247
  7
      F.R.D. at 291 (allowing the plaintiff to ask deposition questions concerning the reason
  8
      for discharge or discipline, the age and disability status of each employee discharged or
  9
      disciplined five years prior to the plaintiff’s termination).
 10
            To the extent Defendant has business confidentiality concerns about producing
 11
      the documents, a Protective Order has been entered in this case. (DE 16.) Defendant
 12
      can produce documents subject to its terms.
 13
                      2.     Defendant’s Position
 14
 15         As Defendant’s counsel explained on the meet and confer conference with

 16 Plaintiff’s counsel, there was no other “handbook” applicable to Plaintiff’s employment
 17 other than Goodyear Business Conduct Manual that was already produced. (Ross Decl.
 18 ¶ 4.) The only other “handbook” Plaintiff referenced on the meet and confer call was a
 19 handbook that was not applicable to district managers like Plaintiff so it is not relevant
 20 here. (Joiner Decl. ¶ 3.) In any event, Defendant will supplement these responses and
 21 produce other separate policies that fall outside of the Business Conduct Manual and
 22 were applicable to Plaintiff.
 23
 24         J.     Request Nos. 23, 27, 67, 69: Failure to Produce Documents
 25 REQUEST FOR PRODUCTION NO. 27:
 26
          DOCUMENTS RELATING to your performance improvement plan and
 27
    termination process in effect from January 1, 2016 to June 30, 2020.
 28
    RESPONSE TO REQUEST FOR PRODUCTION NO. 27:

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  1         Defendant incorporates by reference each and every one of the objections set
  2 forth in the General Objections into this response. Defendant objects to this request on
  3 the grounds that it is compound, overbroad in time and scope, burdensome, oppressive,
  4 and harassing. Defendant also objects to this request to the extent that such documents
  5 are neither relevant nor reasonably calculated to lead to the discovery of admissible
  6 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
  7
    proprietary documents. Defendant also objects to this request to the extent it seeks
  8
    documents that are privileged and confidential pursuant to the attorney-client privilege
  9
    and/or the attorney work-product doctrine, and/or concerns information obtained in
 10
    anticipation of litigation.
 11
           Subject to and without waiving the foregoing, Defendant responds as follows:
 12
           Defendant will produce its Performance Improvement Plan.
 13
           Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 14
 15 its response.
 16 REQUEST FOR PRODUCTION NO. 67:
 17     Any and all DOCUMENTS showing, depicting, RELATING or pertaining to any
 18 request(s) by PLAINTIFF for time off, leave(s) of absence, or other absences or time
 19 off from work from January 1, 2011 to present.
 20 RESPONSE TO REQUEST FOR PRODUCTION NO. 67:
 21         Defendant incorporates by reference each and every one of the objections set
 22 forth in the General Objections into this response. Defendant objects to this request on
 23 the grounds that it is compound, overbroad in time and scope, burdensome, oppressive,
 24 and harassing. Defendant also objects to this request to the extent that such documents
 25 are neither relevant nor reasonably calculated to lead to the discovery of admissible
 26
      evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 27
      proprietary documents. Defendant also objects to this request to the extent it seeks
 28
      documents that are privileged and confidential pursuant to the attorney-client privilege

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  1 and/or the attorney work-product doctrine, and/or concerns information obtained in
  2 anticipation of litigation.
  3        Subject to and without waiving the foregoing, Defendant responds as follows:
  4         Defendant will produce Plaintiff’s time off records.
  5         Defendant’s investigation is ongoing. Defendant reserves the right to supplement
  6 its response.
  7
    REQUEST FOR PRODUCTION NO. 69:
  8
           Any and all DOCUMENTS RELATING or pertaining to any and all absences or
  9
    days missed from work, or portions of days missed, by PLAINTIFF from January 1,
 10
    2011, to his TERMINATION.
 11
    RESPONSE TO REQUEST FOR PRODUCTION NO. 69:
 12
           Defendant incorporates by reference each and every one of the objections set
 13
    forth in the General Objections into this response. Defendant objects to this request on
 14
 15 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 16 harassing. Defendant also objects to this request to the extent that such documents are
 17 neither relevant nor reasonably calculated to lead to the discovery of admissible
 18 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 19 proprietary documents. Defendant also objects to this request to the extent it seeks
 20 documents that are privileged and confidential pursuant to the attorney-client privilege
 21 and/or the attorney work-product doctrine, and/or concerns information obtained in
 22 anticipation of litigation.
 23        Subject to and without waiving the foregoing, Defendant responds as follows:
 24         Defendant will produce Plaintiff’s time off records.
 25         Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 26
      its response.
 27
                      1.    Plaintiff’s Position
 28


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  1         RFP 27 seeks documents relating to Defendant’s performance improvement
  2 plan(s) and termination procedures. These documents are relevant due to Defendant’s
  3 assertion that it terminated Plaintiff’s employment due to poor performance. At the
  4 parties’ March 25, 2022 telephonic meet and confer, Defendant’s counsel indicated that
  5 Defendant had already produced a two page exemplar of Defendant’s performance
  6 improvement plan. But the request seeks more than that. It also seeks documents that
  7
    relate to performance improvement plans and termination procedures such as policies
  8
    and guidelines for implementing these policies. Defendant must produce all documents
  9
    responsive to this request.
 10
           RFP’s 67 and 69 seek documents related to Plaintiff’s requests for leave or time
 11
    off and documents relating to Plaintiff’s time off from work. At the parties’ March 25,
 12
    2022 telephonic meet and confer, Defendant’s counsel indicated that Defendant had
 13
    already produced several pages of Plaintiff’s time off records. However, Plaintiff’s
 14
 15 RFP’s also seek documents related to leave requests, which are relevant to Plaintiff’s
 16 protected leave and disability discrimination claims. Defendant must produce all
 17 documents responsive to these requests.
 18                  2.     Defendant’s Position
 19         First, although the heading mentions RFP 23, there is no discussion of RFP 23 in
 20 the argument so Plaintiff has not included it in this motion. As for the other requests,
 21 Defendant’s counsel already discussed them extensively on the call with Plaintiff’s
 22 counsel and agreed to review further to see if we could supplement. (Ross Decl. ¶ 10.)
 23       RFP 27 is grossly overbroad as written as it seeks all documents even tangentially
 24 relating to Defendant’s performance improvement plan and termination process, which
 25 could include any discussion regarding application of the process to any employee
 26
      nationwide. There is clearly no justification for such a request. In any event, Defendant
 27
      already produced the performance improvement plan template the company uses for
 28
      such performance issues. Plaintiff’s argument that there must be further documents

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  1 does not justify a further production as he has pointed to no evidence of any missing
  2 documents. Regardless, Defendant will supplement its response to clarify this
  3 information.
  4         As for RFPs 67 and 69, Plaintiff admits that Defendant already produced
  5 Plaintiff’s time off records. The fact that Plaintiff assumes there must be further
  6 documents is unavailing and does not prove that Defendant withheld any documents.
  7
    Regardless, Defendant will supplement these responses.
  8
  9
            K.    Request Nos 2-5, 8, 10, 11-15, 17-19, 21-22, 24, 28-29, 49, 59, 64-66,
 10
                  68, 70-71, 73-79, 97, 102: Failure to State Whether Documents Have
 11
                  Been Withheld Subject to Objection
 12
      REQUEST FOR PRODUCTION NO. 2:
 13
            Any and all DOCUMENTS pertaining or RELATING to PLAINTIFF’s job
 14
 15 performance from January 1, 2011 to the present while EMPLOYED by YOU,
 16 including but not limited to performance appraisals or evaluations (regardless of
 17 whether informal or informal, including drafts); commendations; awards; thank-you
 18 notes and letters; notes or letters or certificates of recognition or appreciation;
 19 DOCUMENTS reflecting counseling, discipline, or negative evaluations or feedback;
 20 or any other DOCUMENTS RELATING to PLAINTIFF’s job performance while
 21 EMPLOYED by YOU.
 22 RESPONSE TO REQUEST FOR PRODUCTION NO. 2:
 23        Defendant incorporates by reference each and every one of the objections set
 24 forth in the General Objections into this response. Defendant objects to this request on
 25 the grounds that it is compound, overbroad in time and scope, burdensome, oppressive,
 26
    and harassing. Defendant further objects to this request on the grounds that it is vague
 27
    and ambiguous as to the terms “performance reviews,” “evaluations,” “appraisals,”
 28
    “pertaining to Plaintiff’s employment.” Defendant also objects to this request to the

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  1 extent that such documents are neither relevant nor reasonably calculated to lead to the
  2 discovery of admissible evidence. Defendant further objects to this request insofar as it
  3 seeks confidential and/or proprietary documents. Defendant also objects to this request
  4 to the extent it seeks documents that are privileged and confidential pursuant to the
  5 attorney-client privilege and/or the attorney work-product doctrine, and/or concerns
  6 information obtained in anticipation of litigation.
  7
           Subject to and without waiving the foregoing, Defendant responds as follows:
  8
           Defendant already produced Plaintiff’s mid-year and year-end performance
  9
    reviews. Please see G000155-204.
 10
           Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 11
    its response.
 12
    REQUEST FOR PRODUCTION NO. 3:
 13
           Any and all DOCUMENTS signed by PLAINTIFF RELATING to the obtaining
 14
 15 or holding of EMPLOYMENT with YOU, including as covered under Labor Code
 16 section 432.
 17 RESPONSE TO REQUEST FOR PRODUCTION NO. 3:
 18          Defendant incorporates by reference each and every one of the objections set
 19 forth in the General Objections into this response. Defendant objects to this request on
 20 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 21 harassing. Defendant further objects to this request on the grounds that it is vague and
 22 ambiguous as to the phrase “obtaining or holding” Defendant also objects to this request
 23 to the extent that such documents are neither relevant nor reasonably calculated to lead
 24 to the discovery of admissible evidence. Defendant further objects to this request insofar
 25 as it seeks confidential and/or proprietary documents.
 26
             Subject to and without waiving the foregoing, Defendant responds as follows:
 27
             Defendant has already produced Plaintiff’s personnel file. Please see G000155-
 28
      246.

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  1         Defendant’s investigation is ongoing. Defendant reserves the right to supplement
  2 its response.
  3 REQUEST FOR PRODUCTION NO. 4:
  4         The complete contents of any other file or files (other than the PERSONNEL
  5 FILE of PLAINTIFF) RELATING, or referring to the terms and conditions of
  6 PLAINTIFF’s EMPLOYMENT by YOU, including but not limited to any files relating
  7
      to PLAINTIFF’s request(s) for leave under the Family Medical Leave Act (“FMLA”)
  8
      or the California Family Rights Act (“CFRA”).
  9
      RESPONSE TO REQUEST FOR PRODUCTION NO. 4:
 10
            Defendant incorporates by reference each and every one of the objections set
 11
      forth in the General Objections into this response. Defendant objects to this request on
 12
      the grounds that it is compound, overbroad in time and scope, burdensome, oppressive,
 13
      and harassing. Defendant further objects that the phrase “any other file or files” is vague
 14
 15 and ambiguous. Defendant also objects to this request to the extent that such documents
 16 are neither relevant nor reasonably calculated to lead to the discovery of admissible
 17 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 18 proprietary documents. Defendant also objects to this request to the extent it seeks
 19 documents that are privileged and confidential pursuant to the attorney-client privilege
 20 and/or the attorney work-product doctrine, and/or concerns information obtained in
 21 anticipation of litigation.
 22         Subject to and without waiving the foregoing, Defendant responds as follows:
 23         Defendant already produced documents related to Plaintiff’s requested and
 24 granted leave under the FMLA and CFRA. Please see G000212-227, G000234,
 25 G000259, G000292-295
 26
            Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 27
      its response.
 28


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  1 REQUEST FOR PRODUCTION NO. 5:
  2         Any DOCUMENTS RELATING to PLAINTIFF’s 2019 annual review,
  3 including any drafts of PLAINTIFF’s 2019 annual review.
  4 RESPONSE TO REQUEST FOR PRODUCTION NO. 5:
  5         Defendant incorporates by reference each and every one of the objections set
  6 forth in the General Objections into this response. Defendant objects to this request on
  7
    the grounds that it is overbroad in time and scope, burdensome, oppressive, and
  8
    harassing. Defendant also objects to this request to the extent that such documents are
  9
    neither relevant nor reasonably calculated to lead to the discovery of admissible
 10
    evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 11
    proprietary documents. Defendant also objects to this request to the extent it seeks
 12
    documents that are privileged and confidential pursuant to the attorney-client privilege
 13
    and/or the attorney work-product doctrine, and/or concerns information obtained in
 14
 15 anticipation of litigation.
 16 REQUEST FOR PRODUCTION NO. 8:
 17     Any and all DOCUMENTS RELATING to the wages and/or other forms of
 18 compensation earned by PLAINTIFF during the last five years of his EMPLOYMENT
 19 by YOU, including but not limited to wages (e.g. bonuses, profit sharing, stock options,
 20 deferred compensation, etc.) and benefits (e.g. pension benefits, retirement plans,
 21 medical or other insurance, etc.).
 22 RESPONSE TO REQUEST FOR PRODUCTION NO. 8:
 23        Defendant incorporates by reference each and every one of the objections set
 24 forth in the General Objections into this response. Defendant objects to this request on
 25 the grounds that it is compound, overbroad in time and scope, burdensome, oppressive,
 26
    and harassing. Defendant also objects to this request to the extent that such documents
 27
    are neither relevant nor reasonably calculated to lead to the discovery of admissible
 28
    evidence. Defendant further objects to this request insofar as it seeks confidential and/or

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  1 proprietary documents. Defendant also objects to this request to the extent it seeks
  2 documents that are privileged and confidential pursuant to the attorney-client privilege
  3 and/or the attorney work-product doctrine, and/or concerns information obtained in
  4 anticipation of litigation.
  5        Subject to and without waiving the foregoing, Defendant responds as follows:
  6        Defendant already produced Plaintiff’s wage statements from April 2017 to May
  7
      2020. Please see G00001-154.
  8
            Defendant’s investigation is ongoing. Defendant reserves the right to supplement
  9
      its response.
 10
      REQUEST FOR PRODUCTION NO. 10:
 11
            All PAY RECORDS for PLAINTIFF from January 1, 2016 until his
 12
      TERMINATION.
 13
      RESPONSE TO REQUEST FOR PRODUCTION NO. 10:
 14
 15         Defendant incorporates by reference each and every one of the objections set

 16 forth in the General Objections into this response. Defendant objects to this request on
 17 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 18 harassing. Defendant further objects that the production of “entire personnel file” would
 19 be unduly burdensome and not proportional to the needs of this case. Defendant also
 20 objects to this request to the extent that such documents are neither relevant nor
 21 reasonably calculated to lead to the discovery of admissible evidence. Defendant further
 22 objects to this request insofar as it seeks confidential and/or proprietary documents.
 23       Subject to and without waiving the foregoing, Defendant responds as follows:
 24         Defendant already produced Plaintiff’s wage statements from April 2017 to May
 25 2020. Please see G00001-154.
 26
           Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 27
    its response.
 28
    REQUEST FOR PRODUCTION NO. 11:

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  1         Any and all DOCUMENTS used, considered, reviewed, read, or relied upon in
  2 deciding to TERMINATE PLAINTIFF’s EMPLOYMENT.
  3 RESPONSE TO REQUEST FOR PRODUCTION NO. 11:
  4         Defendant incorporates by reference each and every one of the objections set
  5 forth in the General Objections into this response. Defendant objects to this request on
  6 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
  7
      harassing. Defendant also objects to this request to the extent that such documents are
  8
      neither relevant nor reasonably calculated to lead to the discovery of admissible
  9
      evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 10
      proprietary documents. Defendant also objects to this request to the extent it seeks
 11
      documents that are privileged and confidential pursuant to the attorney-client privilege
 12
      and/or the attorney work-product doctrine, and/or concerns information obtained in
 13
      anticipation of litigation.
 14
 15         Subject to and without waiving the foregoing, Defendant responds as follows:

 16         Defendant already produced documents related to Plaintiff’s termination,
 17 including the correspondences with Plaintiff regarding his termination, Severance
 18 Agreement and Release, correspondence with the employees regarding the restructuring
 19 of the Southern California districts, and customer complaints and related performance
 20 issues. Please see G000239-258, G000281-291, G0000296-299
 21         Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 22 its response.
 23 REQUEST FOR PRODUCTION NO. 12:
 24         Any and all DOCUMENTS showing, depicting, reflecting, or RELATING to the
 25 reasons for PLAINTIFF’s TERMINATION.
 26
    RESPONSE TO REQUEST FOR PRODUCTION NO. 12:
 27
           Defendant incorporates by reference each and every one of the objections set
 28
    forth in the General Objections into this response. Defendant objects to this request on

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  1 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
  2 harassing. Defendant also objects to this request to the extent that such documents are
  3 neither relevant nor reasonably calculated to lead to the discovery of admissible
  4 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
  5 proprietary documents. Defendant also objects to this request to the extent it seeks
  6 documents that are privileged and confidential pursuant to the attorney-client privilege
  7
    and/or the attorney work-product doctrine, and/or concerns information obtained in
  8
    anticipation of litigation.
  9
           Subject to and without waiving the foregoing, Defendant responds as follows:
 10
           Defendant already produced documents related to Plaintiff’s termination,
 11
    including the correspondences with Plaintiff regarding his termination and with
 12
    employees regarding the restructuring of the Southern California districts. Please see
 13
    G000239-258
 14
 15        Defendant’s investigation is ongoing. Defendant reserves the right to supplement

 16 its response.
 17 REQUEST FOR PRODUCTION NO. 13:
 18         Any and all DOCUMENTS reviewed, read, referred to, or consulted by any
 19 PERSON who had any input into or provided any information upon which the decision
 20 to TERMINATE PLAINTIFF was based.
 21 RESPONSE TO REQUEST FOR PRODUCTION NO. 13:
 22         Defendant incorporates by reference each and every one of the objections set
 23 forth in the General Objections into this response. Defendant objects to this request on
 24 the grounds that it is compound, overbroad in time and scope, burdensome, oppressive,
 25 and harassing. Defendant also objects to this request to the extent that such documents
 26
    are neither relevant nor reasonably calculated to lead to the discovery of admissible
 27
    evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 28
    proprietary documents. Defendant also objects to this request to the extent it seeks

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  1 documents that are privileged and confidential pursuant to the attorney-client privilege
  2 and/or the attorney work-product doctrine, and/or concerns information obtained in
  3 anticipation of litigation. Defendant objects to this request to the extent it seeks
  4 documents regarding employees of Defendant and other third parties on the grounds
  5 that such documents are irrelevant and privileged and confidential under the
  6 constitutional rights of privacy.
  7
            Subject to and without waiving the foregoing, Defendant responds as follows:
  8
            Defendant already produced the correspondences with Plaintiff regarding his
  9
      termination and correspondence with employees regarding the restructuring of the
 10
      Southern California districts. Please see G000257-258.
 11
            Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 12
      its response.
 13
      REQUEST FOR PRODUCTION NO. 14:
 14
 15         Any and all DOCUMENTS showing, depicting, listing, or RELATING to who

 16 made or participated in the decision to TERMINATE PLAINTIFF’s EMPLOYMENT.
 17 RESPONSE TO REQUEST FOR PRODUCTION NO. 14:
 18         Defendant incorporates by reference each and every one of the objections set
 19 forth in the General Objections into this response. Defendant objects to this request on
 20 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 21 harassing, and the productions of “[a]ll DOCUMENTS” would be unduly burdensome
 22 and not proportional to the needs of this case. Defendant also objects to this request to
 23 the extent that such documents are neither relevant nor reasonably calculated to lead to
 24 the discovery of admissible evidence. Defendant further objects to this request insofar
 25 as it seeks confidential and/or proprietary documents. Defendant also objects to this
 26
      request to the extent it seeks documents that are privileged and confidential pursuant to
 27
      the attorney-client privilege and/or the attorney work-product doctrine, and/or concerns
 28
      information obtained in anticipation of litigation. Defendant objects to this request to

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  1 the extent it seeks documents regarding employees of Defendant and other third parties
  2 on the grounds that such documents are irrelevant and privileged and confidential under
  3 the constitutional rights of privacy.
  4         Subject to and without waiving the foregoing, Defendant responds as follows:
  5         Defendant already produced the correspondences between Plaintiff and
  6 Goodyear regarding Plaintiff’s termination. Please see G000257.
  7
           Defendant’s investigation is ongoing. Defendant reserves the right to supplement
  8
    its response.
  9
    REQUEST FOR PRODUCTION NO. 15:
 10
           All DOCUMENTS RELATING to PLAINTIFF’s conduct or job performance
 11
    from January 1, 2011, through his TERMINATION, including but not limited to emails,
 12
    notes, memoranda, etc.
 13
    RESPONSE TO REQUEST FOR PRODUCTION NO. 15:
 14
 15        Defendant incorporates by reference each and every one of the objections set

 16 forth in the General Objections into this response. Defendant objects to this request on
 17 the grounds that it is compound, overbroad in time and scope, burdensome, oppressive,
 18 and harassing. Defendant further objects to this request on the grounds that it is vague
 19 and ambiguous as to the terms “conduct” and “job performance.” Defendant also objects
 20 to this request to the extent that such documents are neither relevant nor reasonably
 21 calculated to lead to the discovery of admissible evidence. Defendant further objects to
 22 this request insofar as it seeks confidential and/or proprietary documents. Defendant
 23 also objects to this request to the extent it seeks documents that are privileged and
 24 confidential pursuant to the attorney-client privilege and/or the attorney work-product
 25 doctrine, and/or concerns information obtained in anticipation of litigation.
 26
          Subject to and without waiving the foregoing, Defendant responds as follows:
 27
          Defendant already produced Plaintiff’s mid-year and year end performance
 28
    reviews. Please see G000155-204.

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  1         Defendant’s investigation is ongoing. Defendant reserves the right to supplement
  2 its response.
  3 REQUEST FOR PRODUCTION NO. 17:
  4         All DOCUMENTS reflecting discipline YOU issued to, or considered issuing to,
  5 PLAINTIFF.
  6 RESPONSE TO REQUEST FOR PRODUCTION NO. 17:
  7
            Defendant incorporates by reference each and every one of the objections set
  8
      forth in the General Objections into this response. Defendant objects to this request on
  9
      the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 10
      harassing, and the productions of “all DOCUMENTS” would be unduly burdensome
 11
      and not proportional to the needs of this case. Defendant further objects to this request
 12
      on the grounds that it is vague and ambiguous as to the terms “discipline” and
 13
      “considered.” Defendant also objects to this request to the extent that such documents
 14
 15 are neither relevant nor reasonably calculated to lead to the discovery of admissible
 16 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 17 proprietary documents. Defendant also objects to this request to the extent it seeks
 18 documents that are privileged and confidential pursuant to the attorney-client privilege
 19 and/or the attorney work-product doctrine, and/or concerns information obtained in
 20 anticipation of litigation. Defendant further objects to the extent that this request seeks
 21 a legal conclusion.
 22         Subject to and without waiving the foregoing, Defendant responds as follows:
 23         Defendant already produced the correspondences between Plaintiff and
 24 Goodyear regarding Plaintiff’s termination. Please see G000257.
 25      Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 26
      its response.
 27
 28


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  1 REQUEST FOR PRODUCTION NO. 18:
  2         Any and all DOCUMENTS that evidence, support, refer, or RELATE to any
  3 discipline imposed by YOU against any employee relating to the TERMINATION of
  4 PLAINTIFF’s EMPLOYMENT with YOU.
  5 RESPONSE TO REQUEST FOR PRODUCTION NO. 18:
  6        Defendant incorporates by reference each and every one of the objections set
  7
    forth in the General Objections into this response. Defendant objects to this request on
  8
    the grounds that it is overbroad in time and scope, burdensome, oppressive, and
  9
    harassing, and the productions of “all DOCUMENTS” would be unduly burdensome
 10
    and not proportional to the needs of this case. Defendant also objects to this request to
 11
    the extent that such documents are neither relevant nor reasonably calculated to lead to
 12
    the discovery of admissible evidence. Defendant further objects to this request insofar
 13
    as it seeks confidential and/or proprietary documents. Defendant also objects to this
 14
 15 request to the extent it seeks documents that are privileged and confidential pursuant to
 16 the attorney-client privilege and/or the attorney work-product doctrine, and/or concerns
 17 information obtained in anticipation of litigation. Defendant further objects to the extent
 18 that this request seeks a legal conclusion. Defendant objects to this request to the extent
 19 it seeks documents regarding employees of Defendant and other third parties on the
 20 grounds that such documents are irrelevant and privileged and confidential under the
 21 constitutional rights of privacy.
 22         Subject to and without waiving the foregoing, Defendant responds as follows:
 23         Defendant already produced the correspondences between Plaintiff and
 24 Goodyear regarding Plaintiff’s termination. Please see G000257.
 25      Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 26
      its response.
 27
      REQUEST FOR PRODUCTION NO. 19:
 28


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  1         Any and all DOCUMENTS that evidence, support, refer, or RELATE to any
  2 discipline imposed by YOU against any employee for his or her treatment of
  3 PLAINTIFF occurring at any time from January 1, 2011 to the present.
  4 RESPONSE TO REQUEST FOR PRODUCTION NO. 19:
  5        Defendant incorporates by reference each and every one of the objections set
  6 forth in the General Objections into this response. Defendant objects to this request on
  7
      the grounds that it is overbroad in time and scope, burdensome, oppressive, and
  8
      harassing, and the productions of “all DOCUMENTS” would be unduly burdensome
  9
      and not proportional to the needs of this case. Defendant also objects to this request to
 10
      the extent that such documents are neither relevant nor reasonably calculated to lead to
 11
      the discovery of admissible evidence. Defendant further objects to this request insofar
 12
      as it seeks confidential and/or proprietary documents. Defendant also objects to this
 13
      request to the extent it seeks documents that are privileged and confidential pursuant to
 14
 15 the attorney-client privilege and/or the attorney work-product doctrine, and/or concerns
 16 information obtained in anticipation of litigation. Defendant further objects to the extent
 17 that this request seeks a legal conclusion. Defendant objects to this request to the extent
 18 it seeks documents regarding employees of Defendant and other third parties on the
 19 grounds that such documents are irrelevant and privileged and confidential under the
 20 constitutional rights of privacy.
 21         Subject to and without waiving the foregoing, Defendant responds as follows:
 22         After a diligent search and reasonable inquiry, Defendant has no such documents
 23 in its possession, custody, or control.
 24         Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 25 its response.
 26
    REQUEST FOR PRODUCTION NO. 21:
 27
 28


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  1         Any and all DOCUMENTS showing, depicting, reflecting, pertaining or
  2 RELATING to the discipline imposed on PLAINTIFF from January 1, 2011 to his
  3 TERMINATION, and the reasons for imposing that discipline.
  4 RESPONSE TO REQUEST FOR PRODUCTION NO. 21:
  5        Defendant incorporates by reference each and every one of the objections set
  6 forth in the General Objections into this response. Defendant objects to this request on
  7
      the grounds that it is compound, overbroad in time and scope, burdensome, oppressive,
  8
      and harassing. Defendant also objects to this request to the extent that such documents
  9
      are neither relevant nor reasonably calculated to lead to the discovery of admissible
 10
      evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 11
      proprietary documents. Defendant also objects to this request to the extent it seeks
 12
      documents that are privileged and confidential pursuant to the attorney-client privilege
 13
      and/or the attorney work-product doctrine, and/or concerns information obtained in
 14
 15 anticipation of litigation.
 16        Subject to and without waiving the foregoing, Defendant responds as follows:
 17         Defendant already produced documents related to Plaintiff’s termination and
 18 Plaintiff’s mid-year and year-end performance reviews. Please see G000155-204,
 19 G000257.
 20         Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 21 its response.
 22 REQUEST FOR PRODUCTION NO. 22:
 23     Any and all DOCUMENTS showing, depicting, reflecting, pertaining or
 24 RELATING to the reasons for PLAINTIFF’s TERMINATION.
 25 RESPONSE TO REQUEST FOR PRODUCTION NO. 22:
 26
           Defendant incorporates by reference each and every one of the objections set
 27
    forth in the General Objections into this response. Defendant objects to this request on
 28
    the grounds that it is overbroad in time and scope, burdensome, oppressive, and

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  1 harassing. Defendant also objects to this request to the extent that such documents are
  2 neither relevant nor reasonably calculated to lead to the discovery of admissible
  3 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
  4 proprietary documents. Defendant also objects to this request to the extent it seeks
  5 documents that are privileged and confidential pursuant to the attorney-client privilege
  6 and/or the attorney work-product doctrine, and/or concerns information obtained in
  7
    anticipation of litigation.
  8
           Subject to and without waiving the foregoing, Defendant responds as follows:
  9
           Defendant already produced documents related to Plaintiff’s termination and
 10
    Plaintiff’s mid-year and year-end performance reviews. Please see G000155-204,
 11
    G000257.
 12
           Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 13
    its response.
 14
 15 REQUEST FOR PRODUCTION NO. 24:
 16         All DOCUMENTS RELATING to “multiple associate issues calling attention to
 17 culture concerns in the market...” as referenced in your January 23, 2020 letter to
 18 PLAINTIFF attached hereto as Ex. A.
 19 RESPONSE TO REQUEST FOR PRODUCTION NO. 24:
 20         Defendant incorporates by reference each and every one of the objections set
 21 forth in the General Objections into this response. Defendant objects to this request on
 22 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 23 harassing. Defendant also objects to this request to the extent that such documents are
 24 neither relevant nor reasonably calculated to lead to the discovery of admissible
 25 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 26
      proprietary documents. Defendant also objects to this request to the extent it seeks
 27
      documents that are privileged and confidential pursuant to the attorney-client privilege
 28


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  1 and/or the attorney work-product doctrine, and/or concerns information obtained in
  2 anticipation of litigation.
  3        Subject to and without waiving the foregoing, Defendant responds as follows:
  4         Defendant already produced documents related to Plaintiff’s termination and
  5 Plaintiff’s mid-year and year-end performance reviews. Please see G000155-204,
  6 G000257.
  7
            Defendant’s investigation is ongoing. Defendant reserves the right to supplement
  8
      its response.
  9
      REQUEST FOR PRODUCTION NO. 28:
 10
            DOCUMENTS that describe your procedures or policies for terminating district
 11
      managers in YOUR Retail Division for performance issues from January 1, 2016 to
 12
      June 30, 2020.
 13
      RESPONSE TO REQUEST FOR PRODUCTION NO. 28:
 14
 15         Defendant incorporates by reference each and every one of the objections set

 16 forth in the General Objections into this response. Defendant objects to this request on
 17 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 18 harassing. Defendant also objects to this request to the extent that such documents are
 19 neither relevant nor reasonably calculated to lead to the discovery of admissible
 20 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 21 proprietary documents. Defendant also objects to this request to the extent it seeks
 22 documents that are privileged and confidential pursuant to the attorney-client privilege
 23 and/or the attorney work-product doctrine, and/or concerns information obtained in
 24 anticipation of litigation.
 25        Subject to and without waiving the foregoing, Defendant responds as follows:
 26
            After a diligent search and reasonable inquiry, Defendant has no responsive
 27
      documents in its custody, possession, or control.
 28


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  1         Defendant’s investigation is ongoing. Defendant reserves the right to supplement
  2 its response.
  3 REQUEST FOR PRODUCTION NO. 29:
  4         All DOCUMENTS that reflect any complaints made by PLAINTIFF to YOU
  5 regarding discrimination, harassment, retaliation, or violation of the California Family
  6 Right Act (“CFRA”) of the Family Medical Leave Act (“FMLA”) as well as violations
  7
      of any other laws or any of your business ethics or compliance policies.
  8
      RESPONSE TO REQUEST FOR PRODUCTION NO. 29:
  9
            Defendant incorporates by reference each and every one of the objections set
 10
      forth in the General Objections into this response. Defendant objects to this request on
 11
      the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 12
      harassing. Defendant further objects to this request on the grounds that it is vague and
 13
      ambiguous as to the term “complaints.” Defendant also objects to this request to the
 14
 15 extent that such documents are neither relevant nor reasonably calculated to lead to the
 16 discovery of admissible evidence. Defendant further objects to this request insofar as it
 17 seeks confidential and/or proprietary documents. Defendant also objects to this request
 18 to the extent it seeks documents that are privileged and confidential pursuant to the
 19 attorney-client privilege and/or the attorney work-product doctrine, and/or concerns
 20 information obtained in anticipation of litigation. Defendant further objects that this
 21 interrogatory calls for a legal conclusion.
 22         Subject to and without waiving the foregoing, Defendant responds as follows:
 23         Defendants already produced Plaintiff’s January 20, 2020 correspondence to
 24 Defendant. Please see G000237-238.
 25      Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 26
      its response.
 27
      REQUEST FOR PRODUCTION NO. 49:
 28
            Any compilation of guest satisfaction surveys or reports for districts in YOUR

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  1 RETAIL DISTRICTS from January 1, 2016 to the present.
  2 RESPONSE TO REQUEST FOR PRODUCTION NO. 49:
  3        Defendant incorporates by reference each and every one of the objections set
  4 forth in the General Objections into this response. Defendant objects to this request on
  5 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
  6 harassing. Defendant also objects that the “guest satisfaction surveys” is vague and
  7
    ambiguous. Defendant also objects to this request to the extent that such documents are
  8
    neither relevant nor reasonably calculated to lead to the discovery of admissible
  9
    evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 10
    proprietary documents. Defendant also objects to this request to the extent it seeks
 11
    documents that are privileged and confidential pursuant to the attorney-client privilege
 12
    and/or the attorney work-product doctrine, and/or concerns information obtained in
 13
    anticipation of litigation. Defendant objects to this request to the extent it seeks
 14
 15 documents regarding employees of Defendant and other third parties on the grounds
 16 that such documents are irrelevant and privileged and confidential under the
 17 constitutional rights of privacy.
 18         Subject to and without waiving the foregoing, Defendant responds as follows:
 19         Defendant already produced customer complaints relating to Plaintiff. Please see
 20 G000281-291, G000296-299.
 21         Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 22 its response.
 23 REQUEST FOR PRODUCTION NO. 59:
 24         Any and all DOCUMENTS showing, depicting, RELATING or pertaining to
 25 YOUR policies and procedures RELATING to disability discrimination, retaliation,
 26
    and/or accommodation, including but not limited to policies RELATING to the
 27
    interactive process and/or reasonable accommodations from January 1, 2016 to the
 28
    present.

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  1 RESPONSE TO REQUEST FOR PRODUCTION NO. 59:
  2         Defendant incorporates by reference each and every one of the objections set
  3 forth in the General Objections into this response. Defendant objects to this request on
  4 the grounds that it is compound, overbroad in time and scope, burdensome, oppressive,
  5 and harassing. Defendant further objects to this request insofar as it seeks confidential
  6 and/or proprietary documents. Defendant also objects to this request to the extent it
  7
      seeks documents that are privileged and confidential pursuant to the attorney-client
  8
      privilege and/or the attorney work-product doctrine, and/or concerns information
  9
      obtained in anticipation of litigation. Defendant objects to this request to the extent it
 10
      seeks documents regarding employees of Defendant and other third parties on the
 11
      grounds that such documents are irrelevant and privileged and confidential under the
 12
      constitutional rights of privacy. Defendant also objects that this request calls for a legal
 13
      conclusion.
 14
 15         Subject to and without waiving the foregoing, Defendant responds as follows:

 16         Defendant will produce the applicable Goodyear Business Conduct Manuals.
 17         Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 18 its response.
 19 REQUEST FOR PRODUCTION NO. 64:
 20         Any and all DOCUMENTS RELATING or pertaining to YOUR knowledge of
 21 PLAINTIFF’s spouse’s medical condition from January 1, 2018, through the date of his
 22 TERMINATION.
 23 RESPONSE TO REQUEST FOR PRODUCTION NO. 64:
 24         Defendant incorporates by reference each and every one of the objections set
 25 forth in the General Objections into this response. Defendant also objects to this request
 26
    to the extent it seeks documents that are privileged and confidential pursuant to the
 27
    attorney-client privilege and/or the attorney work-product doctrine, and/or concerns
 28
    information obtained in anticipation of litigation. Defendant objects to this request to

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  1 the extent it seeks documents regarding third parties on the grounds that such documents
  2 are privileged and confidential under the constitutional rights of privacy. Defendant also
  3 objects that this request calls for a legal conclusion.
  4         Subject to and without waiving the foregoing, Defendant responds as follows:
  5         Defendant already produced correspondence from Plaintiff regarding Plaintiff’s
  6 spouse. Please see G000234, 259.
  7
           Defendant’s investigation is ongoing. Defendant reserves the right to supplement
  8
    its response.
  9
    REQUEST FOR PRODUCTION NO. 65:
 10
           Any and all DOCUMENTS from any healthcare provider of any kind
 11
    RELATING to PLAINTIFF or his spouse from January 1, 2017 to the present.
 12
    RESPONSE TO REQUEST FOR PRODUCTION NO. 65:
 13
           Defendant incorporates by reference each and every one of the objections set
 14
 15 forth in the General Objections into this response. Defendant also objects to this request
 16 to the extent it seeks documents that are privileged and confidential pursuant to the
 17 attorney-client privilege and/or the attorney work-product doctrine, and/or concerns
 18 information obtained in anticipation of litigation. Defendant objects to this request to
 19 the extent it seeks documents regarding third parties on the grounds that such documents
 20 are privileged and confidential under the constitutional rights of privacy. Defendant also
 21 objects that this request calls for a legal conclusion.
 22         Subject to and without waiving the foregoing, Defendant responds as follows:
 23         After a diligent search and reasonable inquiry, Defendant has no responsive
 24 documents in its custody, possession, or control.
 25      Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 26
      its response.
 27
      REQUEST FOR PRODUCTION NO. 66:
 28


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  1         All DOCUMENTS RELATING or pertaining to any work absences (including
  2 partial absences) of PLAINTIFF from January 1, 2011, through the date of his
  3 TERMINATION, including all DOCUMENTS showing the nature of the absence (e.g.,
  4 unexcused absence, protected leave, vacation, sick day, etc.).
  5 RESPONSE TO REQUEST FOR PRODUCTION NO. 66:
  6         Defendant incorporates by reference each and every one of the objections set
  7
      forth in the General Objections into this response. Defendant objects to this request on
  8
      the grounds that it is compound, overbroad in time and scope, burdensome, oppressive,
  9
      and harassing. Defendant also objects to this request to the extent that such documents
 10
      are neither relevant nor reasonably calculated to lead to the discovery of admissible
 11
      evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 12
      proprietary documents. Defendant also objects to this request to the extent it seeks
 13
      documents that are privileged and confidential pursuant to the attorney-client privilege
 14
 15 and/or the attorney work-product doctrine, and/or concerns information obtained in
 16 anticipation of litigation.
 17         Subject to and without waiving the foregoing, Defendant responds as follows:
 18         Defendant will produce Plaintiff’s time off records.
 19         Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 20 its response.
 21 REQUEST FOR PRODUCTION NO. 68:
 22         Any and all DOCUMENTS of any kind RELATING or pertaining to any and all
 23 leave taken by PLAINTIFF under the California Family Rights Act during his
 24 EMPLOYMENT by YOU.
 25 RESPONSE TO REQUEST FOR PRODUCTION NO. 68:
 26
           Defendant incorporates by reference each and every one of the objections set
 27
    forth in the General Objections into this response. Defendant objects to this request on
 28
    the grounds that it is overbroad in time and scope, burdensome, oppressive, and

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  1 harassing. Defendant also objects to this request to the extent that such documents are
  2 neither relevant nor reasonably calculated to lead to the discovery of admissible
  3 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
  4 proprietary documents. Defendant also objects to this request to the extent it seeks
  5 documents that are privileged and confidential pursuant to the attorney-client privilege
  6 and/or the attorney work-product doctrine, and/or concerns information obtained in
  7
    anticipation of litigation.
  8
           Subject to and without waiving the foregoing, Defendant responds as follows:
  9
           Defendant already produced documents related to Plaintiff’s requested and
 10
    granted leave under the FMLA and CFRA and plaintiff time off records Please see
 11
    G000212-227, G000234, G000259, G000292-295
 12
           Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 13
    its response.
 14
 15 REQUEST FOR PRODUCTION NO. 70:
 16         Any and all DOCUMENTS showing, depicting, RELATING or pertaining to any
 17 communication, written or oral, by PLAINTIFF’s spouse to YOU concerning any
 18 physical or mental condition suffered by PLAINTIFF during his EMPLOYMENT,
 19 including but not limited to any physical or mental condition that qualified or might
 20 have qualified as a disability under the California Fair Employment and Housing Act.
 21 RESPONSE TO REQUEST FOR PRODUCTION NO. 70:
 22         Defendant incorporates by reference each and every one of the objections set
 23 forth in the General Objections into this response. Defendant objects to this request on
 24 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 25 harassing. Defendant also objects to this request to the extent that such documents are
 26
    neither relevant nor reasonably calculated to lead to the discovery of admissible
 27
    evidence. Defendant objections that this request assumes facts not in evidence.
 28
    Defendant also objects to this request to the extent it seeks documents that are privileged

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  1 and confidential pursuant to the attorney-client privilege and/or the attorney work-
  2 product doctrine, and/or concerns information obtained in anticipation of litigation.
  3 Defendant objects to this request to the extent it seeks documents regarding third parties
  4 on the grounds that such documents are privileged and confidential under the
  5 constitutional rights of privacy. Defendant also objects that this request calls for a legal
  6 conclusion.
  7
           Subject to and without waiving the foregoing, Defendant responds as follows:
  8
           After a diligent search and reasonable inquiry, Defendant has no responsive
  9
    documents in its custody, possession, or control.
 10
           Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 11
    its response.
 12
    REQUEST FOR PRODUCTION NO. 71:
 13
           Any and all DOCUMENTS showing, depicting, RELATING or pertaining to
 14
 15 efforts by YOU to accommodate any of PLAINTIFF’s requests for leave to care for his
 16 spouse.
 17 RESPONSE TO REQUEST FOR PRODUCTION NO. 71:
 18         Defendant incorporates by reference each and every one of the objections set
 19 forth in the General Objections into this response. Defendant objects to this request on
 20 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 21 harassing. Defendant also objects to this request to the extent that such documents are
 22 neither relevant nor reasonably calculated to lead to the discovery of admissible
 23 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 24 proprietary documents. Defendant also objects to this request to the extent it seeks
 25 documents that are privileged and confidential pursuant to the attorney-client privilege
 26
      and/or the attorney work-product doctrine, and/or concerns information obtained in
 27
      anticipation of litigation.
 28
            Subject to and without waiving the foregoing, Defendant responds as follows:

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  1         Defendant already produced documents related to Plaintiff’s requested and
  2 granted leave under the FMLA and CFRA. Please see G000212-227, G000234,
  3 G000259, G000292-295
  4         Defendant’s investigation is ongoing. Defendant reserves the right to supplement
  5 its response.
  6 REQUEST FOR PRODUCTION NO. 73:
  7
            Any and all DOCUMENTS showing, depicting, RELATING or pertaining to
  8
      efforts by YOU to engage in the interactive process, within the meaning of California
  9
      Government Code Section 12940(n), with respect to any physical or mental condition
 10
      that PLAINTIFF or his spouse may have suffered from, including but not limited to any
 11
      physical or mental condition that qualified or might have qualified as a disability under
 12
      the California Fair Employment and Housing Act.
 13
      RESPONSE TO REQUEST FOR PRODUCTION NO. 73:
 14
 15         Defendant incorporates by reference each and every one of the objections set

 16 forth in the General Objections into this response. Defendant objects to this request on
 17 the grounds that it is compound, overbroad in time and scope, burdensome, oppressive,
 18 and harassing. Defendant also objects to this request to the extent that such documents
 19 are neither relevant nor reasonably calculated to lead to the discovery of admissible
 20 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 21 proprietary documents. Defendant also objects to this request to the extent it seeks
 22 documents that are privileged and confidential pursuant to the attorney-client privilege
 23 and/or the attorney work-product doctrine, and/or concerns information obtained in
 24 anticipation of litigation. Defendant objects that this request calls for a legal conclusion.
 25 Defendant objects that this request assumes facts not in evidence.
 26
            Subject to and without waiving the foregoing, Defendant responds as follows:
 27
 28


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  1         Defendant already produced documents related to Plaintiff’s requested and
  2 granted leave under the FMLA and CFRA. Please see G000212-227, G000234,
  3 G000259, G000292-295
  4         Defendant’s investigation is ongoing. Defendant reserves the right to supplement
  5 its response.
  6 REQUEST FOR PRODUCTION NO. 74:
  7
            Any and all DOCUMENTS showing, depicting, constituting, RELATING or
  8
      pertaining to any and all communications (whether written, oral or otherwise) between
  9
      YOU and PLAINTIFF concerning any of PLAINTIFF’s request(s) for reasonable
 10
      accommodations.
 11
      RESPONSE TO REQUEST FOR PRODUCTION NO. 74:
 12
            Defendant incorporates by reference each and every one of the objections set
 13
      forth in the General Objections into this response. Defendant objects to this request on
 14
 15 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 16 harassing. Defendant also objects to this request to the extent that such documents are
 17 neither relevant nor reasonably calculated to lead to the discovery of admissible
 18 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 19 proprietary documents. Defendant also objects to this request to the extent it seeks
 20 documents that are privileged and confidential pursuant to the attorney-client privilege
 21 and/or the attorney work-product doctrine, and/or concerns information obtained in
 22 anticipation of litigation. Defendant objects that this request calls for a legal conclusion.
 23 Subject to and without waiving the foregoing, Defendant responds as follows:
 24         Defendant already produced documents related to Plaintiff’s requested and
 25 granted leave under the FMLA and CFRA. Please see G000212-227, G000234,
 26
    G000259, G000292-295
 27
           Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 28
    its response.

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  1 REQUEST FOR PRODUCTION NO. 75:
  2         Any and all DOCUMENTS used, considered, reviewed, read or relied upon in
  3 deciding whether to grant or deny any and all requests for reasonable accommodations
  4 made by PLAINTIFF during his EMPLOYMENT by YOU.
  5 RESPONSE TO REQUEST FOR PRODUCTION NO. 74:
  6        Defendant incorporates by reference each and every one of the objections set
  7
    forth in the General Objections into this response. Defendant objects to this request on
  8
    the grounds that it is overbroad in time and scope, burdensome, oppressive, and
  9
    harassing. Defendant also objects to this request to the extent that such documents are
 10
    neither relevant nor reasonably calculated to lead to the discovery of admissible
 11
    evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 12
    proprietary documents. Defendant also objects to this request to the extent it seeks
 13
    documents that are privileged and confidential pursuant to the attorney-client privilege
 14
 15 and/or the attorney work-product doctrine, and/or concerns information obtained in
 16 anticipation of litigation. Defendant objects that this request calls for a legal conclusion.
 17        Subject to and without waiving the foregoing, Defendant responds as follows:
 18         Defendant already produced documents related to Plaintiff’s requested and
 19 granted leave under the FMLA and CFRA. Please see G000212-227, G000234,
 20 G000259, G000292-295
 21         Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 22 its response.
 23 REQUEST FOR PRODUCTION NO. 76:
 24         Any and all DOCUMENTS showing, depicting, reflecting, pertaining or
 25 RELATING to the reason(s) that any of PLAINTIFF’s request(s) for reasonable
 26
    accommodations were denied or approved.
 27
    RESPONSE TO REQUEST FOR PRODUCTION NO. 76:
 28


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  1         Defendant incorporates by reference each and every one of the objections set
  2 forth in the General Objections into this response. Defendant objects to this request on
  3 the grounds that it is compound, overbroad in time and scope, burdensome, oppressive,
  4 and harassing. Defendant also objects to this request to the extent that such documents
  5 are neither relevant nor reasonably calculated to lead to the discovery of admissible
  6 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
  7
    proprietary documents. Defendant also objects to this request to the extent it seeks
  8
    documents that are privileged and confidential pursuant to the attorney-client privilege
  9
    and/or the attorney work-product doctrine, and/or concerns information obtained in
 10
    anticipation of litigation. Defendant objects that this request calls for a legal conclusion.
 11
           Subject to and without waiving the foregoing, Defendant responds as follows:
 12
           Defendant already produced documents related to Plaintiff’s requested and
 13
    granted leave under the FMLA and CFRA. Please see G000212-227, G000234,
 14
 15 G000259, G000292-295
 16         Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 17 its response.
 18 REQUEST FOR PRODUCTION NO. 77:
 19         Any and all DOCUMENTS reviewed, read, referred to, or consulted by any
 20 person who had any input into or provided any information upon which the decision(s)
 21 to grant or deny PLAINTIFF’s request(s) for reasonable accommodations was based.
 22 RESPONSE TO REQUEST FOR PRODUCTION NO. 77:
 23        Defendant incorporates by reference each and every one of the objections set
 24 forth in the General Objections into this response. Defendant objects to this request on
 25 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 26
    harassing. Defendant further objects that the phrase “input” is vague and ambiguous.
 27
    Defendant also objects to this request to the extent that such documents are neither
 28
    relevant nor reasonably calculated to lead to the discovery of admissible evidence.

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  1 Defendant further objects to this request insofar as it seeks confidential and/or
  2 proprietary documents. Defendant also objects to this request to the extent it seeks
  3 documents that are privileged and confidential pursuant to the attorney-client privilege
  4 and/or the attorney work-product doctrine, and/or concerns information obtained in
  5 anticipation of litigation. Defendant objects that this request calls for a legal conclusion.
  6         Subject to and without waiving the foregoing, Defendant responds as follows:
  7
            Defendant already produced documents related to Plaintiff’s requested and
  8
      granted leave under the FMLA and CFRA. Please see G000212-227, G000234,
  9
      G000259, G000292-295
 10
            Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 11
      its response.
 12
      REQUEST FOR PRODUCTION NO. 78:
 13
            Any and all DOCUMENTS showing, depicting, listing, pertaining or
 14
 15 RELATING to the identities of those individual(s) who made or participated in the
 16 decision(s) to grant or deny PLAINTIFF’s request(s) for reasonable accommodations.
 17 RESPONSE TO REQUEST FOR PRODUCTION NO. 78:
 18     Defendant incorporates by reference each and every one of the objections set
 19 forth in the General Objections into this response. Defendant objects to this request on
 20 the grounds that it is compound, overbroad in time and scope, burdensome, oppressive,
 21 and harassing. Defendant also objects to this request to the extent that such documents
 22 are neither relevant nor reasonably calculated to lead to the discovery of admissible
 23 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 24 proprietary documents. Defendant also objects to this request to the extent it seeks
 25 documents that are privileged and confidential pursuant to the attorney-client privilege
 26
      and/or the attorney work-product doctrine, and/or concerns information obtained in
 27
      anticipation of litigation. Defendant objects that this request calls for a legal conclusion.
 28
      Defendant objects to this request to the extent it seeks documents regarding employees

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  1 of Defendant and other third parties on the grounds that such documents are irrelevant
  2 and privileged and confidential under the constitutional rights of privacy.
  3       Subject to and without waiving the foregoing, Defendant responds as follows:
  4         Defendant already produced documents related to Plaintiff’s requested and
  5 granted leave under the FMLA and CFRA. Please see G000212-227, G000234,
  6 G000259, G000292-295
  7
            Defendant’s investigation is ongoing. Defendant reserves the right to supplement
  8
      its response.
  9
      REQUEST FOR PRODUCTION NO. 79:
 10
            Any and all DOCUMENTS showing, depicting, constituting, RELATING or
 11
      pertaining to any and all communications (whether written, oral or otherwise) between
 12
      YOU and any of PLAINTIFF’s or his spouse’s health care providers of any kind
 13
      concerning any of PLAINTIFF’s request(s) for reasonable accommodations, including
 14
 15 but not limited to any voicemail messages or audio recordings of any kind.
 16 RESPONSE TO REQUEST FOR PRODUCTION NO. 79:
 17         Defendant incorporates by reference each and every one of the objections set
 18 forth in the General Objections into this response. Defendant objections that this request
 19 assumes facts not in evidence. Defendant also objects to this request to the extent it
 20 seeks documents that are privileged and confidential pursuant to the attorney-client
 21 privilege and/or the attorney work-product doctrine, and/or concerns information
 22 obtained in anticipation of litigation. Defendant objects to this request to the extent it
 23 seeks documents regarding third parties on the grounds that such documents are
 24 privileged and confidential under the constitutional rights of privacy. Defendant also
 25 objects that this request calls for a legal conclusion.
 26
            Subject to and without waiving the foregoing, Defendant responds as follows:
 27
            After a diligent search and reasonable inquiry, Defendant has no responsive
 28
      documents in its custody, possession, or control.

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  1         Defendant’s investigation is ongoing. Defendant reserves the right to supplement
  2 its response.
  3 REQUEST FOR PRODUCTION NO. 97:
  4         All DOCUMENTS that support any affirmative defense YOU have pleaded, or
  5 currently intend to plead, in this action.
  6 RESPONSE TO REQUEST FOR PRODUCTION NO. 97:
  7
            Defendant incorporates by reference each and every one of the objections set
  8
      forth in the General Objections into this response. Defendant objects to this request on
  9
      the grounds that it is overbroad in time and scope, burdensome, oppressive, and
 10
      harassing. . Defendant also objects to this request to the extent that such documents are
 11
      neither relevant nor reasonably calculated to lead to the discovery of admissible
 12
      evidence. Defendant further objects to this request insofar as it seeks confidential and/or
 13
      proprietary documents. Defendant also objects to this request to the extent it seeks
 14
 15 documents that are privileged and confidential pursuant to the attorney-client privilege
 16 and/or the attorney work-product doctrine, and/or concerns information obtained in
 17 anticipation of litigation. Defendant also objects that this request calls for a legal
 18 conclusion.
 19         Subject to and without waiving the foregoing, Defendant responds as follows:
 20         Defendant will produce non-privileged documents which support Defendant’s
 21 Affirmative Defenses.
 22         Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 23 its response.
 24 REQUEST FOR PRODUCTION NO. 102:
 25         All   DOCUMENTS          identified   in   YOUR      responses    to   PLAINTIFF’
 26
      Interrogatories, Set One.
 27
      RESPONSE TO REQUEST FOR PRODUCTION NO. 102:
 28


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  1         Defendant incorporates by reference each and every one of the objections set
  2 forth in the General Objections into this response. Defendant objects to this request on
  3 the grounds that it is overbroad in time and scope, burdensome, oppressive, and
  4 harassing. Defendant also objects to this request to the extent that such documents are
  5 neither relevant nor reasonably calculated to lead to the discovery of admissible
  6 evidence. Defendant further objects to this request insofar as it seeks confidential and/or
  7
    proprietary documents. Defendant also objects to this request to the extent it seeks
  8
    documents that are privileged and confidential pursuant to the attorney-client privilege
  9
    and/or the attorney work-product doctrine, and/or concerns information obtained in
 10
    anticipation of litigation. Defendant also objects that this request calls for a legal
 11
    conclusion
 12
           Subject to and without waiving the foregoing, Defendant responds as follows:
 13
           Defendant will produce Plaintiff’s mid-year and year-end performance reviews,
 14
 15 customer complaints, and correspondence with the employees regarding the
 16 restructuring of the Southern California districts. Defendant has already produced these
 17 documents. Please see G000155-204, G000258, G000281-291, G000296-299.
 18         Defendant’s investigation is ongoing. Defendant reserves the right to supplement
 19 its response.
 20                  1.     Plaintiff’s Position
 21         Defendant must provide supplementary responses that conform to Fed. R. Civ.
 22 P. 34(b)(2)(B) and (C). Fed. R. Civ. P. 34(b)(2)(B) requires Defendant to state “that
 23 inspection and related activities will be permitted as requests or state with specificity
 24 the grounds for objecting to the request, including the reasons.”  Fed. R. Civ. P.
 25 34(b)(2)(C) requires that Defendant state whether any documents have been withheld
 26
      subject to any objection. Nei v. Travelers Home & Marine Ins. Co., 326 F.R.D. 652,
 27
      656 (D. Mont. 2018). Defendant’s responses do not conform to either rule. Instead,
 28
      Defendant responds with a series of boilerplate objections and statements concerning

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  1 documents it claims it has already produced. The responses do not state whether
  2 Defendant will produce all responsive documents and do not state whether documents
  3 have been withheld subject to any objection.
  4         The compressed discovery schedule in this matter means that Plaintiff must know
  5 as soon as possible whether Defendant is withholding documents so that Plaintiff can
  6 bring a motion to compel Defendant to produce some or all of any withhold documents
  7
      and have it heard before the first day of trial. Defendant’s failure to state clearly whether
  8
      it will comply with the discovery requests strongly suggest that Defendant is
  9
      withholding documents or is trying to avoid looking for documents. For example, RFP
 10
      13 seeks documents Defendant reviewed, read, or referred to by any person who
 11
      provided information on which the decision to terminate Plaintiff was based. In
 12
      response, Defendant identifies only two document pages it already produced. RFP 25
 13
      seeks documents relating to Defendant’s decision to restructure the Southern California
 14
 15 field leadership organization in Southern California, which is one of the reasons
 16 Defendant gave for Plaintiff’s termination. In response, Defendant identifies only two
 17 pages that it has already produced. It is hard to believe that Defendant only reviewed
 18 two pages of documents when deciding to terminate Plaintiff, and that Defendant only
 19 has two pages of documents related to the restructuring of its retail leadership for
 20 Southern California. Defendant must supplement its responses to these and all the other
 21 responses to which it agreed or claimed it would produce documents to indicate whether
 22 it had produced all requested documents and whether any requested documents have
 23 been withheld.
 24                   2.     Defendant’s Position
 25         Defendant’s counsel already explained to Plaintiff’s counsel that as the requests
 26
      were overbroad and vague and ambiguous as written, Defendant could not provide a
 27
      broad response agreeing to produce every potentially responsive. (Ross Decl. ¶ 11.)
 28


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  1 Accordingly, Defendant responded by listing the specific responsive documents it was
  2 producing.
  3       As discussed on the meet and confer conference, it is interesting that Plaintiff
  4 raised this issue here when in response to Defendant’s requests, Plaintiff simply
  5 responded that “to the extent that Plaintiff understands what documents are requested,”
  6 he would produce responsive documents, “if any,” without specifically indicating which
  7
    requests he had responsive documents for and which he did not. (Ross Decl. ¶ 11.)
  8
    While Defendant went much further and specifically indicated what documents it was
  9
    producing, Plaintiff apparently takes issue with such compliant responses. In any event,
 10
    Defendant already agreed to provide a privilege log (which Plaintiff’s counsel has not
 11
    yet provided either) and will supplement these responses to clarify if any documents
 12
    have been specifically withheld outside of documents protected by attorney-client
 13
    privilege or the attorney work product doctrine. (Ross Decl. 11.)
 14
 15
       Dated:      April _5, 2022           LAW OFFICES OF G. SAMUEL
 16
 17
                                             /s/ G.S. Cleaver
 18                                          G. Samuel Cleaver
 19                                          Attorneys for Plaintiff
                                             MICHAEL SHERLOCK
 20
       Dated:      April 4, 2022            LITTLER MENDELSON P.C.
 21
 22
 23                                          Sarah E. Ross
 24                                          Devon S. Mills
                                             Attorneys for Defendants
 25                                          Attorney for Defendant
                                             THE GOODYEAR TIRE & RUBBER
 26                                          COMPANY
 27
 28


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  1                       ATTESTATION REGARDING SIGNATURES
  2        I, G. Samuel Cleaver, attest pursuant to L.R. 5-4.3.4(a)(2)(i) that all signatories
  3 listed, and on whose behalf the filing is submitted, concur in the filing’s content and
  4 have authorized the filing.
  5
  6        Date: April 5, 2022                    /s/ G.S. Cleaver
  7                                                    G. Samuel Cleaver
                                            Attorneys for Plaintiff Michael Sherlock
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